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    1                         IN THE UNITED STATES DISTRICT COURT

    2                         IN AND FOR THE DISTRICT OF DELAWARE

    3                                    - - -
          SILVERGATE PHARMACEUTICALS, INC.,     :            CIVIL ACTION
    4                                           :
                      Plaintiff,                :
    5     v                                     :
                                                :
    6     BIONPHARMA, INC.,                     :            NO. 18-1962-LPS
                                                :            NO. 19-1067-LPS
    7                 Defendant.                :
          -------------------------------------
    8     SILVERGATE PHARMACEUTICALS, INC.,     :            CIVIL ACTION
                                                :
    9                 Plaintiff,                :
          v                                     :
   10                                           :
          AMNEAL PHARMACEUTICALS, LLC,          :
   11                                           :            NO. 19-678-LPS
                      Defendant.
   12                                    - - -

   13                                Wilmington, Delaware
                                   Monday, February 1, 2021
   14                     Bench Trial - Volume A - Sealed Portions

   15                                          - - -

   16     BEFORE:           HONORABLE LEONARD P. STARK, Chief Judge

   17                                          - - -
          APPEARANCES:
   18

   19                    MORRIS NICHOLS ARSHT & TUNNELL, LLP
                         BY: MEGAN E. DELLINGER, ESQ.
   20
                              and
   21
                         WILSON SONSINI GOODRICH & ROSATI
   22                    BY: WENDY L. DEVINE, ESQ., and
                              KRISTINA M. HANSON, ESQ.
   23                         (San Francisco, California)

   24                         and

   25     Valerie J. Gunning                    Brian P. Gaffigan
          Official Court Reporter               Official Court Reporter
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    1     APPEARANCES:

    2
                         WILSON SONSINI GOODRICH & ROSATI
    3                    BY: NATALIE J. MORGAN, ESQ.
                              (San Diego, California)
    4
                              and
    5
                         WILSON SONSINI GOODRICH & ROSATI
    6                    BY: GRANVILLE C. KAUFMAN, ESQ., and
                              TY W. CALLAHAN, ESQ.
    7                         (Los Angeles, California)

    8                               Counsel for Silvergate
                                    Pharmaceuticals, Inc.
    9

   10                    MORRIS JAMES, LLP
                         BY: KENNETH L. DORSNEY, ESQ., and
   11                         CORTLAN S. HITCH, ESQ.

   12                         and

   13                    TAFT STETTINIUS & HOLLISTER, LLP
                         BY: ROSHAN P. SHRESTHA, Ph.D., ESQ., and
   14                         ANDREW M. ALUL, ESQ.
                              (Chicago, Illinois)
   15
                                    Counsel on behalf of Bionpharma, Inc.
   16

   17                    YOUNG CONAWAY STARGATT & TAYLOR, LLP
                         BY: ANNE SHEA GAZA, ESQ.,
   18                         KAREN L. PASCALE, ESQ., and
                              SAMANTHA G. WILSON, ESQ.
   19
                              and
   20
                         MADDOX EDWARDS, PLLC
   21                    BY: STEVEN MADDOX, ESQ.
                              JEREMY EDWARDS, ESQ.
   22                         MATTHEW RUEDY, ESQ., and
                              KAVEH SABA, ESQ.
   23                         (Washington, District of Columbia)

   24                               Counsel on behalf of
                                    Amneal Pharmaceuticals, LLC
   25
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    1                                     - oOo -

    2                             P R O C E E D I N G S

    3                   (Following portion ordered sealed by the Court,

    4     contained herein.)

    5                   THE TRIALanywhere HOST:       Okay.   The public line

    6     and Mr. George have been removed from the meeting and put

    7     into the waiting room.

    8                   THE COURT:    Okay.    Thank you.

    9                   And before we get started, Mr. English,

   10     Ms. Morgan, while I'm understanding her, it seems there is

   11     an occasional dropped syllable or two.         I don't know if you

   12     are hearing any interference like that.

   13                   THE TRIALanywhere HOST:       Can you move the

   14     microphone down a little bit?

   15                   MS. MORGAN:    Certainly.

   16                   THE TRIALanywhere HOST:       Yeah.   Because I think

   17     you were --

   18                   MS. MORGAN:    Is that better?

   19                   THE TRIALanywhere HOST:       -- you were missing it.

   20                   MS. MORGAN:    Okay.    And, Your Honor, please feel

   21     free to tell me if you can't hear what I'm saying and I will

   22     readjust.

   23                   THE COURT:    I certainly will.       And I heard, I

   24     heard what you were saying.       It was just an occasional

   25     syllable.    So if we can make it better and hopefully we have
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    1     all the better.

    2                   Okay.   We'll turn the clock back on, and you can

    3     proceed when you are ready.

    4                   MS. MORGAN:    Thank you.

    5                   All right.    So now let's talk about

    6     infringement, beginning with Amneal.

    7                   There are 15 claims asserted against Amneal

    8     across four patents:      the '008, '442, '745, and '987

    9     patents.

   10                   Two patents essentially cover the oral liquid

   11     formulation, two other patents cover methods of using the

   12     formulation to treat diseases.

   13                   What you are seeing on the screen is a claim of

   14     one of the patents.

   15                   Amneal agrees the only dispute with respect to

   16     infringement is whether the buffer limitation, which is

   17     similar across the patents, whether the buffer limitation of

   18     these claims is met by Amneal's ANDA product.

   19                   There is no dispute that the other limitations

   20     of the asserted claims are met.

   21                   Yet Amneal admittedly has a buffer.

   22                   First, regarding a buffer.       You will hear that

   23     the purpose of a buffer in Silvergate's patented formulation

   24     is to adjust and maintain the pH of the formulation.

   25                   Amneal's ANDA product meets that limitation
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    1     under the Doctrine of Equivalents.        Important, Amneal

    2     represented to the FDA that one of the excipients in their

    3     ANDA product is a buffer, and that their product has a

    4     pH that meets the claim requirement of being between 3 and

    5     3.5.

    6                    Now, Dr. Buckton will explain that pH, which is

    7     maintained by the buffer, impacts the chemical stability of

    8     a liquid.    In other words, without maintaining stability

    9     for the required period of the shelf life of the drug, you

   10     can damage the safety and efficacy of the product because

   11     the drug can degrade to become toxic or can degrade such

   12     that the active ingredient is lost, making it ineffective

   13     for the intended treatment.

   14                    So what does Amneal use to maintain this pH and

   15     achieve the required stability?        Malic acid.

   16                    And Silvergate will show that malic acid in the

   17     amount Amneal uses is equivalent to the claimed buffer under

   18     the Doctrine of Equivalents.

   19                    Bionpharma is in a similar boat.

   20                    There are six claims across two patents asserted

   21     against Bionpharma:      The '745 and '987 patent.

   22                    One covers the formulation and one the method of

   23     treatment.

   24                    And what we're looking at here is a claim of the

   25     '745 patent.
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    1                   Now, Bionpharma agrees that the only dispute

    2     with respect to infringement is, similar to Amneal, whether

    3     the buffer limitation is met, and there is a second issue,

    4     whether the preservative limitation is met.          Both are

    5     highlighted here in the limitations of the example claim on

    6     the screen.

    7                   There is no real dispute with respect to the

    8     other limitations as these two limitations highlighted

    9     are the only limitations that Bionpharma's expert has

   10     disputed.

   11                   But Bionpharma has a buffer and a preservative

   12     in their ANDA product.

   13                   Now, Bionpharma would have us all believe it

   14     doesn't have a buffer because it doesn't call anything in

   15     its formulation a buffer.       But you will hear testimony

   16     from Dr. Stephen Byrn, another scientist with decades of

   17     experience in pharmaceutical formulation, that as a matter

   18     of basic chemistry principles, there is absolutely a buffer

   19     in Bionpharma's solution.

   20                   You see, he will tell you that Bionpharma has

   21     two ingredients in its product, maleate and sodium

   22     hydroxide, that instantaneously react in solution to form a

   23     buffer.    He can identify it chemically, and he will explain

   24     it on a molecular level.

   25                   And Dr. Byrn will show you Bionpharma documents
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    1     that indisputably show that there is a buffer in

    2     Bionpharma's ANDA product that is adjusting and maintaining

    3     the pH of the product, and that it is doing it in the same

    4     way chemically as the claimed buffer.         And that Bionpharma

    5     also achieves a stable product using their buffer.

    6                    It reminds me of that saying:       If it looks like

    7     a duck, swims like a duck and it quacks like a duck, you

    8     know.

    9                    So Silvergate will show maleate and sodium

   10     hydroxide Bionpharma uses produces a buffer that is

   11     equivalent to the claimed buffer under the Doctrine of

   12     Equivalents.

   13                    Now, Bionpharma argues that applying Doctrine of

   14     Equivalents to its -- to it would vitiate the claims.

   15                    The doctrine of claim vitiation is not an

   16     exception to the Doctrine of Equivalents but asks for a

   17     legal determination that no fact-finder determine two

   18     elements to be equivalent.

   19                    As Your Honor I'm sure knows, a claim cannot be

   20     vitiated simply by noting that the equivalent substitute is

   21     outside the claim limitation's literal scope.          That is

   22     precisely why the doctrine exists.

   23                    But when the accused products contains the

   24     antithesis of the claimed product, that is vitiation.

   25                    And far from having the antithesis of a buffer,
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    1     you will hear from Dr. Byrn that Bionpharma does, indeed,

    2     have a buffer.     Chemically, molecularly, and evidence of the

    3     effects of the buffer are painted all over its ANDA despite

    4     Bionpharma's efforts to refrain from calling any specific

    5     ingredient by the name "buffer."

    6                   There is no vitiation.

    7                   Now, as I mentioned, Bionpharma also asserts

    8     that it does not infringe the preservative limitation in the

    9     claims.

   10                   Here, Bionpharma admits plainly in its document

   11     that it has a preservative.       It labels ingredients as such.

   12                   It's a combination of methylparaben and

   13     propylparaben.     But Bionpharma claims that this is not

   14     equivalent to the claimed sodium benzoate preservative.

   15                   Dr. Byrn will explain that the function of

   16     sodium benzoate is to act as preservative to perform that

   17     function by exerting antimicrobial effects at a pH of less

   18     than 3.57, which is pH solution, in order to achieve the

   19     result of insignificant microbial --

   20                   You will hear that Bionpharma's preservative

   21     performs this exact function in the same way to achieve the

   22     same results.

   23                   Bionpharma chose a combination of

   24     methylparaben and propylparaben because of their

   25     antimicrobial effectiveness.       And Bionpharma's testing
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    1     showed that they effective at a pH of less than .5 with

    2     significant degradation.

    3                   In short, the combination of propylparaben and

    4     propylparaben is equivalent to the claimed buffer.

    5                   Thus, both the of buffer and preservative

    6     limitations are met under the Doctrine of Equivalents, and

    7     all of their limitations are infringed literally by the

    8     ANDA product.

    9                   Now, turning to in its arguments against the

   10     Doctrine of Equivalents, both defendants assert that the

   11     Doctrine of Equivalents can not be applied to their

   12     respective buffers because Silvergate is estopped by the

   13     prosecution history of the patents.

   14                   THE COURT:    And Ms. Morgan, let me stop you

   15     there.

   16                   MS. MORGAN:    Yes.

   17                   THE COURT:    Can that argument be made in public

   18     or not?

   19                   MS. MORGAN:    I believe I do -- I do refer to

   20     elements of ingredients of their formulation again.

   21                   THE COURT:    Okay.    All right.    Then go forward.

   22                   You can proceed.      We'll stay in the sealed

   23     session.

   24                   MS. MORGAN:    Okay.    I was trying to determine if

   25     I could eliminate it.
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     1                   THE COURT:    Okay.   Well, think about it going

     2    forward, but at this point, I don't want to slow you down

     3    any further.

     4                   MS. MORGAN:    Thank you.    Thank you, Your Honor.

     5                   Let me talk about amendment-based estoppel.

     6                   Looking at the amendment on this screen, this is

     7    the amendment in question, and particularly the underlined

     8    portion:    The "and about .15 milligram per milliliter sodium

     9    citrate dihydrate."

   10                    The Court will hear from two separate and

   11     independent pharmaceutical formulators that what defendants

   12     claimed to be narrowing amendment is actually swapping out

   13     one buffer system for an equivalent buffer system.            It's not

   14     there.

   15                    Second, even if the swapping of the equivalent

   16     buffer systems was narrowing, the Court will hear that there

   17     was no reason other than -- that there was a reason other

   18     than for patentability for the amendment.

   19                    And the applicants never pointed to the

   20     amendment for any argument to obtain allowance, nor could

   21     they have, as you will hear.

   22                    By contrast, they did make other amendments that

   23     applicants specifically explained were to obtain allowance

   24     of the claims.

   25                    Third, the Court will hear that even if the
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     1    amendment could be narrowing and related to patentability,

     2    the tangential relation exception applies here.           That is a

     3    case-by-case, specific analysis, and it asks if the reason

     4    for the amendment bears no more than a tangential relation

     5    to the equivalent in question, then estoppel cannot be

     6    applied.

     7                   The equivalent in question for Amneal is malic

     8    acid.

     9                   For Bionpharma, it's the buffer formed from

   10     maleate and sodium hydroxide.

   11                    Listen carefully because the defendants cannot

   12     identify any reason for the amendment that relates to either

   13     equivalent buffer.

   14                    Now, Your Honor, I believe that the -- no,

   15     actually, I will continue to refer to ingredients.

   16                    So now for argument-based estoppel.

   17                    There must be a clear and unmistakable surrender

   18     of subject matter for argument based estoppel to apply.

   19                    This is a high bar, as I'm sure Your Honor

   20     knows.

   21                    Simple arguments and explanations do not

   22     surrender claim scope.       Thus, arguments to the Patent

   23     Office should be read for their full context both within

   24     the written submission to the Patent Office and within the

   25     context of the entire back and forth before a determination
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     1    on whether there has been such a clear and unequivocal

     2    disavowal can be made.

     3                   For example, the applicants never told the

     4    Patent Office the invention is this, not that.

     5                   In short, there simply was no clear and

     6    unequivocal disavowal.

     7                   Now, this is the end of the defendants' defenses

     8    to the Doctrine of Equivalents for the buffer limitation.

     9    Silvergate will show that they simply do not apply.            But I

   10     need to briefly address one additional argument that

   11     Bionpharma alone raises because it applies to the

   12     preservative limitation.

   13                    Bionpharma argues that Silvergate disclosed the

   14     combination of methylparaben and propylparaben in its

   15     patent specification and, therefore, such a preservative is

   16     dedicated to the public, cannot infringe under the Doctrine

   17     of Equivalents.

   18                    Again, as I'm sure Your Honor knows, the

   19     disclosure dedication doctrine is different from the

   20     invalidity doctrines of enablement and written description

   21     which Bionpharma does not assert here because they don't

   22     have any invalidity defenses.

   23                    Whether a person of ordinary skill in the art

   24     could implement the equivalent without undue experimentation

   25     is not a disclosure for dedication to the public purposes.
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     1    The inquiries are different.            For there to be a dedication

     2    to the public, the unclaimed subject matter must have been

     3    identified by the patentee as an alternative to what is

     4    claimed.

     5                   But the Court will hear that the specification

     6    does not identify the combination of methylparaben and

     7    propylparaben as an alternative to sodium benzoate, which is

     8    the claimed preservative.

     9                   While the specification does, indeed, identify

   10     a long laundry list of potential preservatives that include

   11     methylparaben in one place and propylparaben in another,

   12     neither that laundry list nor other taste-testing data

   13     reported in the patent discloses the specific combination

   14     much methylparaben and propylparaben as an alternative to

   15     sodium benzoate.

   16                    Disclosure dedication requires something more

   17     specific that is lacking here, as Dr. Byrn will explain.

   18                    Now, turning to invalidity.

   19                    And, Your Honor, at this time, the courtroom

   20     could be revealed.

   21                    THE COURT:       Okay.    Thank you.   Let's pause for a

   22     moment.    And, Mr. English, if you could let the public and

   23     the other individual back in.

   24                    (Silvergate sealed portion ends.)

   25                          *      *      *
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     1                   THE TRIALanywhere HOST:      Okay.   The courtroom is

     2    sealed.

     3                   THE COURT:    Thank you very much.      You may

     4    proceed.

     5                   MR. ALUL:    Thank you, Your Honor.

     6                   So just to finish on this slide.        There are

     7    six different reasons why we don't literally infringe, and

     8    Silvergate relies on the Doctrine of Equivalents to satisfy

     9    all six missing limitations, which we respectfully submit is

   10     a stretch, Your Honor, and an improper use of the Doctrine

   11     of Equivalents.

   12                    There is Federal Circuit case law out there that

   13     says, look, the DOE is not the second step of every

   14     infringement inquiry.

   15                    And as we will see, Silvergate actually --

   16     Silvergate's claims are very narrow from an infringement

   17     standpoint, but -- hang on.

   18                    Okay.   There we are.

   19                    So my next slide, Your Honor, summarizes

   20     Silvergate's contentions with respect to our product.

   21                    With respect to the buffer limitation,

   22     Silvergate alleges that maleate acid, which is present in

   23     our product, because we formulate our product with enalapril

   24     maleate, which is a salt.       It's a salt of the active

   25     ingredient.
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     1                   The allegation is that the maleate portion of

     2    that dissolves and dissociates in our ANDA product and

     3    combines with sodium hydroxide that we add in the final

     4    few steps of our formulation process to in situ form this

     5    maleate acid, sodium maleate buffer system in our product.

     6                   The contention that Silvergate levels against us

     7    with respect to the preservative limitation, Your Honor, is

     8    that the methylparaben and propylparaben that we use in our

     9    product admittedly as preservatives is equivalent to the

   10     claimed sodium benzoate.

   11                    Now, Your Honor, before I give the Court a

   12     preview of our defenses, I think it is worth providing us a

   13     little bit of a backdrop how it was that Bionpharma was able

   14     to design around Silvergate's patents so extensively.            And

   15     really there are two reasons, Your Honor.

   16                    One, ingenuity.     Bionpharma actually figured out

   17     something that Silvergate didn't appreciate when it filed

   18     for its Epaned patents.

   19                    And that is if you formulate your enalapril

   20     liquid formulation just right, you don't need a buffer.             And

   21     that is something that Silvergate never appreciated.            And

   22     because as our expert is going to show, Silvergate intended

   23     to claim enalapril liquid formulations with a strong

   24     independent buffer.

   25                    The second reason, Your Honor, is -- that we
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     1    are able to design so extensively around Silvergate's

     2    patents is because of the prior art.         And because of the

     3    prior art -- well, first of all, enalapril, Your Honor, is

     4    an old drug.     It was approved back in 1985.       It is off

     5    patent.    It was originally marketed, as Silvergate's counsel

     6    explained in her opening, by Merck under the trade name

     7    Vasotec as a tablet formulation.

     8                   Over time, there were -- there arose demands in

     9    certain patient populations for more easily administrable

   10     enalapril formulations, and the prior art responded.

   11                    And there were a plethora of liquid formulations

   12     of enalapril published in the prior art.

   13                    Why do I say this?

   14                    I say this, Your Honor, because out of the gate,

   15     at the Patent Office, Silvergate knew it wasn't going to be

   16     able to secure broad claim coverage for its Epaned product.

   17     And we'll see that shortly.

   18                    Our next slide.

   19                    And, Your Honor, we spoke about this this

   20     morning.    It's just a qualification.       I'm going to be

   21     referring to the claim as narrow.         They are narrow for

   22     infringement purposes.       For invalidity purposes, they're

   23     actually quite broad.       And that is because the comprising

   24     phraseology right after the preamble of each claim, which

   25     means, as the experts will acknowledge, that the claims
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     1    contain not only what is recited but can contain more of

     2    what is recited and a whole lot of other things.

     3                   So it's not actually inconsistent to

     4    characterize the claims as narrow for infringement purposes

     5    but broad for invalidity purposes.

     6                   Okay.   Now on to our defenses.

     7                   First up, Your Honor, is our

     8    disclosure-dedication defense.

     9                   I'm sorry, first up is a summary of our

   10     defenses.    We have three legal defenses in play:         disclosure

   11     dedication, amendment-based estoppel, argument-based

   12     estoppel.

   13                    We have two factual defenses.       What they allege

   14     is that the buffer in our product is actually not equivalent

   15     to the claimed buffer limitations, as well as we don't --

   16     the methylparaben and propylparaben that we used is not

   17     equivalent to the sodium benzoate.

   18                    Your Honor, we also have a claimed vitiation

   19     defense, which is technically a legal defense, but I lump it

   20     in here because it is related to the factual defenses

   21     concerning the buffer limitation.

   22                    Okay.   First up, Your Honor, is our disclosure

   23     dedication legal defense.

   24                    And all of the claims require sodium benzoate as

   25     a preservative at specific concentrations.
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     1                   We use methylparaben and propylparaben.

     2                   Our expert, Your Honor, is going to walk the

     3    Court -- the next slide shows our formulation where the

     4    Court can see where we use methylparaben and propylparaben

     5    as our preservatives.

     6                   Our expert, Your Honor, Dr. Chris Morton,

     7    is going to be walking the Court through the common

     8    specification of the patents and pointing out where, where

     9    in the common specification there is a disclosure that

   10     methylparaben and propylparaben are suitable alternatives

   11     for the claimed sodium benzoate.

   12                    And, Your Honor, we're looking at the Column 10,

   13     the portion of the economist specification that actually

   14     talks about what preservatives are and provides exemplary

   15     preservatives.

   16                    Preservatives include methylparaben,

   17     propylparaben, and their salts, and then sodium benzoate.

   18                    And, Your Honor, our expert is going to actually

   19     bring some perspective from the standpoint of the person of

   20     ordinary skill in the art to this.         Because, of course, a

   21     common specification needs to be read from the perspective

   22     of the POSA.

   23                    And our expert, Dr. Morton, Your Honor, is going

   24     to explain that a POSA looking at this would know two things

   25     about methylparaben and propylparaben.
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     1                   No. 1.   They were the most commonly used paraben

     2    preservatives.

     3                   And, No. 2, Your Honor, they were almost always

     4    used together.

     5                   So with that piece of factual information,

     6    our expert is going to explain, just from this paragraph

     7    here, it was clear to a POSA when looking at this that

     8    methylparaben and propylparaben were disclosed together as

     9    non-salts as suitable alternatives to the claimed sodium

   10     benzoate.

   11                    And my next few slides, Your Honor, disclose

   12     additional portions of the specification that describe

   13     methylparaben and propylparaben.        At Column 12, you can

   14     see it says, "in some embodiments, the preservatives are a

   15     mixture of parabens."

   16                    And it actually discloses the concentration

   17     range, Your Honor.      Not that this is a requirement for our

   18     disclosure-dedication defense, but it just -- it's

   19     additional icing on the cake as far as we're concerned.

   20                    It says they can be present between

   21     1.2 milligrams per milliliter and about 1.3 milligrams per

   22     milliliter.

   23                    Well, as it turns out, Your Honor, that --

   24     the -- I'm sorry.

   25                    As it turns out, the amount of methylparaben
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     1    and propylparaben in our product fall rights in that range.

     2    It's at 1.26 milligram per milliliter squared.           Again, not

     3    a requirement for disclosure dedication that the exact

     4    concentration of the preservatives we use be disclosed, but

     5    it's in there as well.

     6                   Next, Your Honor, our expert is going to take

     7    us to Example C of the common specification.           And here,

     8    our expert is going to explain that Silvergate actually, in

     9    its R&D leading up to its patents, developed an enalapril

   10     formulations that used methylparaben and propylparaben.

   11                    And here, in Example C, as we can see,

   12     particularly the right-hand excerpt on this slide, on 1029,

   13     shows liquid formulations that were prepared with

   14     methylparaben and propylparaben salts, the sodium salts of

   15     methylparaben and sodium propylparaben.

   16                    Now, our expert is going to explain, Your

   17     Honor, that the reason why these were prepared as salts

   18     is because methylparaben and propylparaben are actually

   19     lipophilic.     They're fat-loving compounds.       They're hard

   20     to dissolve in an aqueous formulation.          And all of the

   21     formulations we're talking about, the claimed formulation,

   22     Bionpharma's ANDA product, they are all aqueous; i.e.,

   23     water-based.

   24                    So one of two ways to get methylparaben and

   25     propylparaben into an aqueous formulation is to convert them
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     1    as salts, at which point they readily dissolve.           And that is

     2    what Bionpharma -- that is what Silvergate did in its R&D in

     3    these specific example formulations at Example C.

     4                   The expert evidence is going to show at trial,

     5    Your Honor, though, that a POSA looking at this would know

     6    that actually within these liquid formulations,

     7    methylparaben and propylparaben dissolve and dissociate from

     8    the sodium and are present as the free acid or non-salts,

     9    methylparaben and propylparaben by themselves.

   10                    Our expert is also going to explain that a

   11     POSA would know that in these formulations that it is

   12     methylparaben and propylparaben, the non-salt, that are

   13     exerting their antimicrobial activity.

   14                    So, Your Honor, our second legal defense is the

   15     estoppel arguments.      And at this point we can unseal the

   16     courtroom for the next few slides.

   17                    THE COURT:       Okay.   Mr. English.

   18                    (Bionpharma sealed portion ends.)

   19                          *      *      *

   20                    THE TRIALanywhere HOST:        The courtroom is

   21     sealed.

   22                    THE COURT:       Thank you.

   23                    Mr. Alul, you may proceed.

   24                    MR. ALUL:    Okay.       Thank you, Your Honor.   Let me

   25     just get to the slide I wanted to get to.
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     1                   Okay.   Here we are.

     2                   Next up, Your Honor, is our first factual

     3    defense.    And this slide summarizes Silvergate's contention

     4    regarding the buffer limitation and the elements of the

     5    buffer limitation.

     6                   Again, Silvergate's contention is that the --

     7    you know, Silvergate concedes we don't have a separate

     8    independent bunch.      The allegation is that the enalapril

     9    maleate that we formulate our product with, the active

   10     ingredient, the maleate portion of that dissociates from

   11     enalapril and our liquid formulation and reacts with sodium

   12     hydroxide that we add in the final few steps of our ANDA

   13     product to adjust the pH, to get it to the 3.3, which is the

   14     target pH of our formulation.

   15                    And that in situ, this maleic acid, sodium

   16     maleate buffer systems forms.        That is the contention from

   17     Silvergate and its expert.

   18                    Our expert, Dr. Chris Morton, is going to

   19     explain there are two problems with this.

   20                    The first problem is there is no evidence this

   21     happens in our ANDA product.        Nothing but unsupported

   22     testimony from Silvergate's expert, Dr. Byrn.           No

   23     experimental evidence, even though they could have --

   24     Dr. Byrn could have confirmed this via experimental

   25     evidence.    There is nothing but Dr. Byrn's unsupported
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     1    opinion that this happens in our ANDA product.

     2                   In fact, our expert is going to explain that

     3    it's equally plausible and probably more likely that the

     4    maleate portion, the maleic acid portion of our enalapril

     5    salt, doesn't completely dissociate from the enalapril; that

     6    it stays associated with the enalapril, and it's not free to

     7    react with any sodium hydroxide.

     8                   And certainly not to the tune of the .236

     9    milligrams per milliliter that Silvergate's expert says that

   10     completely dissociates from the enalapril salt.

   11                    Second, Your Honor, even if there is some maleic

   12     acid that is dissociated from the enalapril, from our -- the

   13     enalapril in our formulation, our expert is going to explain

   14     that the sodium hydroxide that is added in the final few

   15     steps of our ANDA product could react with other acidic

   16     components in our formulation, not just maleic acid;

   17     including enalapril itself which is acidic; including the

   18     paraben preservatives we use to lesser extent because of the

   19     pH; including something in the flavoring.

   20                    So our expert is going to explain that

   21     Silvergate and its expert have not carried their burden with

   22     respect to actually proving that this alleged maleic acid,

   23     sodium maleate buffer system exists in Bionpharma's ANDA

   24     product.

   25                    Next, Your Honor, is the second problem.
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     1                   Even if Dr. Byrn's theory is true, that all of

     2    the maleic acid from the enalapril salt dissociates and

     3    reacts with sodium hydroxide to form this buffer, this

     4    alleged buffer in our ANDA product, even if it is true, it

     5    is not equivalent.

     6                   It is not equivalent under the traditional

     7    function way result test, it's not equivalent under a

     8    substantial differences test.

     9                   Under a function-way-result, Your Honor, our

   10     expert is going to explain to the Court that the actual

   11     proper function of the buffer limitation in Silvergate's

   12     claims is to maintain pH beyond any pH maintenance provided

   13     by any acid dissociated from an enalapril salt which, in

   14     turn, protects the enalapril during shelf life and in the

   15     stomach.

   16                    Where does our expert get that?       From the

   17     intrinsic record.

   18                    Our expert is going to walk the Court through

   19     the intrinsic record and explain that what Silvergate

   20     intended to claim was a separate independent buffer

   21     component to strongly resist changes in pH.

   22                    How do we know that?

   23                    Well, we know from the claims, Your Honor.

   24                    Our expert is going to go to claim 1 of the

   25     first -- of these patents, the '008 patent.          As you can see,
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     1    enalapril maleate is the required active ingredient in the

     2    '008 and '442 patents.

     3                   Thus, our expert is going to explain under

     4    Dr. Byrn's own theory, Your Honor, the claimed formulations

     5    would inherently contain a maleic acid, sodium maleate

     6    buffer.    Because under Dr. Byrn's own theory, our expert is

     7    going to explain, the maleic acid portion of the maleate --

     8    enalapril maleate would dissociate in the claimed

     9    formulations, react with certain basic components, like

   10     sodium citrate, and form this buffer that would inherently

   11     exist in the claimed formulations.

   12                    This is all under Dr. Byrn's theory if it's

   13     correct.

   14                    Despite that, Silvergate intended to claim a

   15     separate independent buffer to strongly maintain pH, to

   16     protect the active during shelf and in the stomach.

   17                    And with respect to protect it in the stomach,

   18     Your Honor, that evidence -- or the support for that is

   19     going to come from the citizen's petition what Silvergate

   20     told the FDA about why the claimed citric acid and sodium

   21     citric buffer was so critical to their invention.

   22                    But same situation for the claims of the '745

   23     and '987 patents that are asserted against us, Your Honor.

   24                    Silvergate in these patents broadened the scope

   25     of the buffer -- of the active ingredient limitation to
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     1    cover enalapril or a pharmaceutically acceptable salt.

     2                   There is no dispute that includes enalapril

     3    maleate.    So for -- or at least some of the elements fall

     4    within the claimed formulations of the '745 and '987 patent,

     5    many of them, there is going to be, under Dr. Byrn's own

     6    theory, a maleic acid, sodium maleate sodium buffer system

     7    that inherently exists.       Despite that, Silvergate intended

     8    to claim a separate independent buffer.

     9                   Our expert is going to walk the Court through

   10     the common specification, including the examples, Your

   11     Honor, all of the examples use enalapril maleate, an

   12     independent buffer limitation -- an independent buffer that

   13     is usually citric acid and sodium citrate.

   14                    And our expert is going to explain that this --

   15     in addition -- you know, that in these examples under

   16     Dr. Byrn's own theory, there would exist an inherent maleic

   17     acid, sodium maleate buffer system, but the claim -- the

   18     specification requires an independent buffer.

   19                    And our expert is going to go even further,

   20     Your Honor, and explain that there is actually no written

   21     description in these patents, in the common specification.

   22     There is no written description that acid dissociated from

   23     an enalapril salt by itself can serve as a suitable buffer

   24     in the claimed formulations.

   25                    MS. MORGAN:    I'm sorry, Your Honor, but this --
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     1    but that is exactly the concern that we raised this morning.

     2    He is interjecting a validity issue into the case, the

     3    description.

     4                   MR. ALUL:    Your Honor --

     5                   THE COURT:    Go ahead.

     6                   MR. ALUL:    Your Honor, that is not true.       In

     7    claim construction, certainly the Court can consider written

     8    description arguments if -- depending on how a claim is

     9    construed, and I know we're not the only claim construction,

   10     but determining the proper function of the buffer limitation

   11     claim is analogous to claim construction.          You can look at

   12     these common specification, and claims can't be construed in

   13     a way that -- that covers subject matter that is not

   14     described in the patents.

   15                    And so we -- it's our position that written

   16     description is, is relevant to claimed construction.

   17                    It's also relevant, Your Honor, to determining

   18     what the proper function of the buffer is for the Doctrine

   19     of Equivalents limitation.

   20                    THE COURT:    All right.    Ms. Morgan, your

   21     position is noted.      I'm going to permit the defendant,

   22     Bionpharma, in this case, to make the argument.           They're not

   23     going to ask you to invalidate your patents based on this

   24     argument.    That would be impermissible.        But -- and I don't

   25     know if they will have evidence to support it, and you can
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     1    certainly object in the evidentiary case.          But I'm going to

     2    permit him to make the argument.

     3                   Go ahead, Mr. Alul.

     4                   MS. MORGAN:    Thank you, Your Honor.

     5                   MR. ALUL:    Thank you, Your Honor.

     6                   Next, Your Honor, our expert is going to

     7    explain that the claimed buffer limitation and the alleged

     8    equivalent of our product function in substantially

     9    different way.

   10                    And for that, Your Honor, our expert is going

   11     to point the Court to these numerical ranges or these

   12     quantitative elements of the buffer limitation.

   13                    And our expert is going to explain that what a

   14     POSA would understand these to mean is that citric acid and

   15     sodium citrate are present in the claimed compositions at

   16     specific concentrations.

   17                    But our expert is going to go one step further

   18     and explain that a POSA would understand that these

   19     concentrations signify a specific concentration of buffer

   20     species in the claimed formulation; i.e., the specific

   21     concentration of citric acid and citrate ions present in

   22     the claimed formulation to neutralize any base or acid that

   23     is added to the formulation or that is generated over time.

   24                    And just a little footnote, Your Honor, that is

   25     really the concern with pharmaceutical drug products and why
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     1    you include a buffer limitation, not so much that somebody,

     2    after it's been formulated and bottled up and sealed and put

     3    on a shelf, is going to be adding acid or base to the

     4    formulation.     That's not -- that is generally not -- that is

     5    not going to happen.

     6                   The concern here, Your Honor, and the reason why

     7    you have a buffer in these products is because over time,

     8    certain components of these formulations, like the

     9    excipients, may degrade into acidic or basic compounds that

   10     want to raise or lower the pH.

   11                    And so that is why you have a buffer in your

   12     product.    Depending on how you formulate it.

   13                    And so our expert is going to explain that these

   14     concentration ranges signify a certain concentration of

   15     citric acid and citrate ions that are present in the claimed

   16     formulation and able to neutralize any acid or base.

   17                    And our expert is going to actually calculate

   18     for the Court the buffer species concentration of the

   19     claimed buffer limitations, as well as the alleged buffer

   20     in Bionpharma's ANDA product, this citric -- maleic acid,

   21     sodium malate buffer system.

   22                    And our expert is going to explain to Your

   23     Honor that the comparison isn't even close.          The claimed

   24     formulations maintain pH with buffer species anywhere

   25     between 2.24 to 10-and-a-half times that of the buffer
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     1    species concentration of the, of the alleged buffer in our

     2    product.    And that, therefore, that translates into a

     3    substantially different result, and the result is that the

     4    claimed buffers have a much higher buffer capacity.

     5                   And our expert is going to explain, Your Honor,

     6    buffer capacity is basically the capacity of a formulation

     7    because of its buffer to resist changes in pH.

     8                   And that buffer species concentration is a good

     9    indication of buffer capacity, and that based on that, the

   10     buffer capacity of the claimed formulations is a lot higher

   11     than the buffer capacity of Bionpharma's ANDA product owing

   12     to what Silvergate alleges is the equivalent buffer in our

   13     product.

   14                    Next, Your Honor, even under a substantial

   15     differences test, our expert is going to explain that we are

   16     substantially different.

   17                    And the reason why they're -- our expert is

   18     going to explain, and this is going to require a little

   19     bit of background knowledge, what is an acid?           Our expert

   20     is going to explain -- or the experts, both experts, can

   21     explain, acids are basically compounds in aqueous -- in

   22     water that donate hydrogen ions.        Bases are compounds in

   23     water that accept hydrogen ions.

   24                    And that for a buffer, you essentially want, the

   25     experts are going to explain, a weak acid and its conjugate
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     1    base.

     2                   Maleic acid, Your Honor, it turns out, is a

     3    stronger weak acid than citrate acid.         And our experts are

     4    going to explain, it doesn't line up with the pH of

     5    Bionpharma's ANDA product, which is approximately 3.3.

     6                   And our experts can explain that because there

     7    is this difference between how strong maleic acid is and

     8    the pH of our formulation, the equilibrium in our product

     9    between maleic acid and sodium maleate shifts all the way

   10     to the sodium maleate such that in our ANDA product, if

   11     Dr. Byrn's theory is true, there's hardly any maleic acid

   12     present to neutralize any -- any components that degrade and

   13     become basic over time.

   14                    Our expert is going to explain that in contrast,

   15     the claimed formulations, which have, you know, an ideal pH

   16     of 3 to 3.5, the Epaned formulation has a pH between, I

   17     think it's around 3.3, there citric acid lines up very

   18     nicely with the pH.      And that is why they chose citric acid

   19     and sodium citrate, because its lines up well with the

   20     optimal pH of these types formulations.          And because of

   21     that, you have a nice even split between citric acid and

   22     sodium citrate.

   23                    So that if any components degrade and become

   24     acidic or basic over time, you have two different arms:             a

   25     citric acid arm and a sodium citrate arm to neutralize the
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     1    pH and stop it from going up or going down.

     2                   Next up, Your Honor, is our second factual

     3    defense, that we don't have an equivalent preservative.

     4                   And here, Your Honor, our expert is going to

     5    explain that the methylparaben and propylparaben we use in

     6    our product are substantially different than the claimed

     7    sodium benzoate.

     8                   Here's some depictions of our structure, the

     9    different structures.       Our expert is going to walk the Court

   10     throughout these differences and how they translate into

   11     different physical and chemical properties.

   12                    An important one of which is one that I

   13     mentioned earlier, which is that methylparaben and

   14     propylparaben are very lipophilic, they're hard to get in

   15     new aqueous formulations considerations and that is an

   16     important consideration for a formulator, where a sodium

   17     benzoate is, it's a hydrophilic salt, it easily dissolves in

   18     aqueous liquids.

   19                    Next, Your Honor, our expert is going to explain

   20     that methylparaben and propylparaben actually exert their

   21     antimicrobial activity in radically different ways than the,

   22     than the claimed sodium benzoate.         And this was actually

   23     apparent from the prior art literature.

   24                    Our expert is going to explain that

   25     methylparaben and propylparaben exert their antimicrobial
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     1    activity by interrupting transport processes in the

     2    membrane of the microorganism, which causes the -- yeah, the

     3    microorganism to basically rupture its membrane and leak

     4    contents outside or interrupt transport going in.

     5                   Or it was known that methylparaben and

     6    propylparaben enter the microorganism and inhibit DNA and

     7    RNA synthesis and kill the microorganism that way.            And

     8    because of that, they were known as bacteriocidal or

     9    fungicidal.     They kill microorganisms whereas sodium

   10     benzoate, Your Honor, it was known from the literature, our

   11     expert is going to explain, sodium benzoate, it exerts an

   12     antimicrobial activity by entering the microorganism and

   13     interrupting with a pathway that generate glucose, which the

   14     microorganisms need for energy.

   15                    So it doesn't kill the microorganisms, it just

   16     inhibits their growth.       And that is why they are referred to

   17     as bacteriostatic and fungistatic.

   18                    Your Honor, I expect there is not going to be

   19     a lot of dispute between the experts regarding these

   20     differences and physical and chemical properties and

   21     antimicrobial properties.

   22                    The issue is going to be, is that relevant?          And

   23     we respectfully submit it is relevant.          They operate in

   24     substantially different ways and yield substantially

   25     differently results, and they're just substantially
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     1    different under the traditional substantial differences

     2    test, such that a finding of equivalence should not be

     3    found.

     4                   And with that, Your Honor, unless the Court has

     5    any questions, at the conclusion of trial, we're going to be

     6    requesting a judgment of noninfringement.

     7                   THE COURT:       Okay.   No questions at this time.

     8                   We're going to take a short recess before we

     9    hear any further closing.

   10                    Remind me, Mr. Alul, are we in open court or are

   11     we not?

   12                    MR. ALUL:    We're in closed court.      We should be

   13     in closed court, Your Honor, so we can open up.

   14                    THE COURT:       Let's open up.   And then I'll say

   15     again, we're going to take a short break.

   16                    (Bionpharma sealed portion ends.)

   17                          *      *      *

   18                    THE TRIALanywhere HOST:       Okay.   The courtroom is

   19     sealed.

   20                    THE COURT:       Okay.   Thank you.

   21                    Go ahead.

   22                    MR. MADDOX:      Okay.

   23                    Your Honor, like Bionpharma, we're here on a

   24     purely Doctrine of Equivalents case because the 1.9

   25     milligrams per milliliter of maleic acid that is a buffer in
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     1    our product is substantially different from the claimed 1.82

     2    of claim -- of citric acid, and .15 of sodium citrate, which

     3    is a 2 -- it's an acid conjugate-based system known

     4    throughout the world for decades as a citric buffer.

     5                   In the world of buffers, maleic acid is about as

     6    far as one could get from the claimed citric buffer; and in

     7    particular, if one is looking to make an enalapril solution

     8    with the pH of what was known as the optimal stability pH of

     9    about 3, give or take.

   10                    First, Amneal chose a product, a buffer, that

   11     was a single acid buffer instead of the acid-based type

   12     system in the claim.

   13                    Second, Amneal chose a single acid that was not

   14     in any claim.     And, indeed, was not even in among the dozens

   15     of buffering agents listed as potentials in the

   16     specification.

   17                    In order for Amneal, or frankly anyone, to take

   18     advantage of the publicly known optimal stability of pH 3

   19     about for an enalapril solution, there was nothing else that

   20     Amneal or anyone else could have done.

   21                    Here, in these patents, Silvergate went out of

   22     its way to specifically define the particular buffer

   23     system it claimed with particular amounts.          They calibrated

   24     their buffer system, which is a, a common process from

   25     high school chemistry on up, and they had to respond to the
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     1    Patent Examiner's demand to prove that these particular

     2    amounts of these particular ingredients were critical to

     3    why their proposed invention was not obvious over the prior

     4    art.

     5                   Now, I know you have heard already about

     6    prosecution history estoppel, and you have seen many slides.

     7    I would just like to put one -- I'd just like to put one

     8    piece of the prosecution history up.

     9                   I didn't plan to, but, Mr. Roberts, could you

   10     put that up?     I can -- obviously if people have an objection

   11     to it, but you will see it's -- if we go in listing claim 1,

   12     this is from the prosecution history.

   13                    This is the amendment that our prosecution

   14     history estoppels are largely centered on.

   15                    As you can see, the underlined addition of "and

   16     about .15 milligrams per milliliter sodium citrate

   17     dihydrate."     That is where the action is.

   18                    And without going hammer and tong, because you

   19     are going to get it from four different experts, I would

   20     just point out that this -- we say this was narrowing

   21     amendment because what used to be anything with

   22     1.82 milligrams of citric acid, and nothing else or whatever

   23     else would infringe it now, it's narrowing the scope.

   24                    You will hear from their Dr. Buckton that in

   25     his analysis of estoppel, it doesn't matter whether it's a
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     1    narrowing amendment.      He doesn't think about it that way,

     2    which is up to him.

     3                   But we and the Court have to think about it that

     4    way because that is what the law is.

     5                   We'll also be fighting about whether it is

     6    related to patentability.       And you will learn that before

     7    this -- the Office Action that gave rise to this amendment,

     8    the Examiner said:      Listen, I would like to see -- I'm

     9    rejecting it as obvious, I would like to see evidence of the

   10     criticality of the amounts and specific ingredients here to

   11     it being something nonobvious over the prior art.

   12                    And so this amendment was made and Silvergate

   13     mounted an unexpected results campaign with unexpected --

   14     allegedly unexpected stability arising from the specific

   15     amounts of these two.       They amended their claims to be the

   16     two acid-based system and that those particular amounts in

   17     the two acid-based system are what led to the allegedly

   18     unexpected results.

   19                    Their entire response, including a declaration

   20     from Mr. Mosher, who we hope to see later, was devoted

   21     to showing the Patent Office that with this particular

   22     combination of citric acid and citric dihydrate in the

   23     amounts done, there was this allegedly unexpected result of

   24     better stability.

   25                    Now, you will see also that the data they
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     1    submitted for this was limited to formulations with these

     2    two acid-based systems.

     3                   They did not try to show any criticality of a

     4    single acid.     They devoted it entirely to what was now the

     5    amended claim.     So we say this was an amendment related to

     6    patentability.

     7                   You will hear from Dr. Gemeinhart from us on

     8    that.    And so now I'd like to talk a little bit about

     9    factual equivalency.

   10                    Dr. Buckton is going to give you a

   11     function-way-result analysis.        And what it really is is more

   12     or less a rhetorical device for a sort of, it's so abstract

   13     that it becomes sort of meaninglessly circular.

   14                    He will tell you that the purpose -- I'm sorry,

   15     the function of a buffer is to maintain the pH.

   16                    Well, the function of every buffer is to

   17     maintain the pH.      That is what every -- that's what a buffer

   18     is.   If you've got a buffer, it is maintaining pH.           It

   19     becomes circular.

   20                    And then he says, well, the way it does this is

   21     neutralizing additional protons or positive hydrogen ions

   22     and additional hydroxide, so OH negative ions.           Again, this

   23     is the way that every single buffer on the face of the earth

   24     operates.

   25                    He has taken this to such a level of abstraction
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     1    that it is going to cover any buffer no matter 1, 2, the

     2    citric, non-citric, it doesn't matter.          If you have a

     3    buffer, you have his function and way.          And you're subject

     4    to this patent.

     5                   And the net effect of this is that the patent

     6    kind of gets sort of rewritten to say, you're infringing if

     7    you've got an enalapril solution with any kind of buffer so

     8    long as the solution maintains at around .3 -- a pH of 3, or

     9    3 to 5.

   10                    And that's not their invention, basically.         They

   11     didn't -- they shouldn't be having monopoly power over all

   12     solutions that have a pH of -- all enalapril solutions that

   13     have a pH of 3.

   14                    So we think the function-way-result of Dr.

   15     Buckton is something that you are going to want to look at

   16     with a critical eye.

   17                    But we're not going to take you through

   18     ionization by lawyers now, so we'll leave that for the

   19     expert witnesses.

   20                    And I can turn to obviousness.

   21                    This is the part where we can open up the

   22     courtroom again.

   23                    THE COURT:    Okay.   Let's give Mr. English a

   24     moment to do that, please.

   25                    THE TRIALanywhere HOST:      The courtroom is now
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     1    open and everyone has joined.

     2                    (Amneal sealed portion ends.)

     3                         *     *     *

     4                    MS. MORGAN:    Thank you.

     5                             DIRECT EXAMINATION

     6    BY MS. MORGAN:

     7    Q.       So first I would like to talk about some documents

     8    related to the commercialization of the Ready-to-Use

     9    formulation.     As part of Silvergate's ordinary course of

   10     business, does Silvergate gather and keep information

   11     regarding the financial performance of its products, and

   12     specifically, the Ready-to-Use product?

   13     A.       Yes.

   14     Q.       And why is that?

   15     A.       So we wanted to understand our business and

   16     implications of sales and so forth.

   17     Q.       And as chief development officer of Silvergate,

   18     what's your role with respect to receiving or reviewing

   19     financial data regarding the company's products?

   20     A.       I would -- I would receive all the financial

   21     information and review it as part of the normal course of

   22     business.

   23     Q.       Let's take a look at PTX-254 and 255.         And I believe

   24     you also have these in your binder, so feel free to take a

   25     look at them.     Have you seen these before?
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     1    A.       I have.

     2    Q.       And just generally, what are they?

     3    A.       These are financial reporting documents that we used

     4    in Silvergate for the powder and the ready-to-use.

     5    Q.       And are these documents that Silvergate keeps in the

     6    ordinary course of its business?

     7    A.       Yes.

     8    Q.       Let's take a look at PTX-34, 251 and 252, if you can

     9    fit all three up there on the screen.

   10                     And did Silvergate regularly receive reports

   11     from companies like IMS in the industry regarding

   12     prescriptions?

   13     A.       Yes.

   14     Q.       And that's in the ordinary course of Silvergate's

   15     business?

   16     A.       Yes.

   17     Q.       And what are we looking at here in PTX-34, 251 and

   18     252?

   19     A.       These are IMS data that of the market.

   20     Q.       And did Silvergate obtain and keep these reports in

   21     the ordinary course of its business?

   22     A.       Yes.

   23     Q.       Let's take a look at PTX-250 and 259, please.          And

   24     have you seen these before?

   25     A.       Yes.
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     1    Q.       What are they?

     2    A.       These were again our financial reporting documents.

     3    Q.       And are these documents that Silvergate has created

     4    and kept in the ordinary course of its business?

     5    A.       Yes.

     6    Q.       Okay.   Let's take a look at PTX-253 and 258.         And can

     7    you tell us what these are?

     8    A.       These are my R&D budget for Silvergate across all of

     9    the products that we had under development.

   10     Q.       And did Silvergate regularly prepare R&D budgets as

   11     part of the ordinary course of its business?

   12     A.       We did.

   13     Q.       Okay.   As part of Silvergate's ordinary course of

   14     business, did Silvergate prepare or have prepared by third

   15     parties presentations regarding the overall financial

   16     performance of the company?

   17     A.       Yes.

   18     Q.       Why do you do that?

   19     A.       We wanted to establish valuations of the company,

   20     what our valuation would be.

   21     Q.       And as chief development officer, what's your role

   22     regarding those types of documents?

   23     A.       I was involved in, you know, the meetings to discuss

   24     this, what products were in the R&D pipeline, also the

   25     comment on drafts.
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     1    Q.       Let's take a look at PTX-29 and PTX-329.         Do you

     2    recognize these documents?

     3    A.       I do.

     4    Q.       What are they and, specifically, in PTX-29, if you

     5    scroll down to SLVGT-EPA-100528.

     6    A.       This was an e-mail that we received from -- flashing

     7    through here.     These are, these are presentations that we

     8    prepared.    The one e-mail came up.

     9    Q.       You can go back to the top if you would like.

   10     A.       Okay.

   11     Q.       Can you go back to the top of the e-mail, please?

   12     A.       Okay.   So this is an e-mail from Kevin McNeil and Lee

   13     Rank, and Lee Rank had helped us prepare presentation really

   14     for J.P. Morgan, J.P. Morgan.        This was a corporate overview

   15     for meetings that we had at J.P. Morgan.

   16     Q.       Okay.   And so looking at the presentation within

   17     PTX-29 and the presentation in PTX-329, are these

   18     presentations that Silvergate prepared or had prepared as

   19     part of its regular course of business?

   20     A.       Yes.

   21     Q.       Let's take a look at PTX-31 and 256.        And do you

   22     recognize these documents?

   23     A.       I do.

   24     Q.       And what are they?

   25     A.       These were valuations that were prepared by
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     1    Collective Acumen and Jefferies to assess the value of

     2    Silvergate, the value.

     3                   THE COURT:    All right.    I have to stop you, Ms.

     4    Morgan.    Do you have any thought?

     5                   THE TRIALanywhere Host:      Can they turn the

     6    microphone sensitivity a little bit in the room?

     7                   MS. MORGAN:    Ours?

     8                   THE TRIALanywhere HOST:      Yes, because it's

     9    trumping what the witness is saying there.          And, Mr.

   10     Beckloff, just try not to trail off at the end of your

   11     sentences.

   12                    THE WITNESS:    Okay.   I will do my best.

   13                    THE TRIALanywhere HOST:      Yes.   I do the same

   14     thing.

   15                    THE COURT:    Everyone else on mute.

   16                    THE TRIALanywhere HOST:      Yes.   Everybody else is

   17     muted.

   18                    MS. MORGAN:    We're trying, Your Honor.        I'm

   19     sorry.

   20                    Try the volume on the mic.       Try the volume.

   21                    Just keep going.

   22                    MS. MORGAN:    I'm going to spell my name and

   23     you tell me if I'm still loud enough.         N-a-t-a-l-i-e,

   24     M-o-r-g-a-n.

   25                    We turned it down about five clicks, and if you
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     1    can still hear me, we can try this.

     2                   THE COURT:    I could hear fine.

     3                   Mr. English, do you think that is worth a try?

     4                   THE TRIALanywhere HOST:       Yes.

     5                   MS. MORGAN:      And I actually can't hear His Honor

     6    now.

     7                   THE TRIALanywhere HOST:       Yeah.   So you are

     8    getting the HVAC noise.         So turn the microphone down another

     9    five clicks because you are still very strong.

   10                    MS. MORGAN:      Okay.   Turn it down some more, and

   11     I will keep spelling my name.

   12                    So the microphone controls both ways?

   13                    Oh, you are turning the volume down.        Ah.    Okay.

   14     Okay.

   15                    I guess what we're attempting to turn down

   16     controls both our ability to hear and this.          But our IT

   17     person knows how to control just this (pointing overhead).

   18     We've called him.       He is here.

   19                    I apologize.

   20                    We need the volume up so we can hear and the mic

   21     down.    And I will just spell my name until we kind of find a

   22     good level of the volume both ways.

   23                    Ready?    Yes?

   24                    N-a -- not yet?      Okay.

   25                    IT OPERATOR:      Go ahead.
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     1                   MS. MORGAN:    N-a-t-a-l-i-e, M-o-r-g-a-n.

     2                   N-a-t-a-l-i-e --

     3                   THE TRIALanywhere HOST:      Turn it down.

     4                   MS. MORGAN:    I'm sorry?    Can you turn the volume

     5    up so we can hear them because I can't hear them now.

     6                   Can you talk, JD?

     7                   THE TRIALanywhere HOST:      Yes.   You sound very

     8    good.

     9                   MS. MORGAN:    Okay.   So N-a-t-a-l -- still good?

   10                    THE TRIALanywhere HOST:      Yes, you sound good.

   11                    MS. MORGAN:    Okay.   Thank you.

   12                    THE COURT:    Thank you.

   13                    Mr. Beckloff, why don't we ask you to spell

   14     either Ms. Morgan's name or your name so we can check.

   15                    THE WITNESS:    Michael.    M-i-c-h-a-e-l, Beckloff,

   16     B-e-c-k-l-o-f-f.

   17                    THE COURT:    That was a little hard to hear.

   18                    Mr. English, what do you think?

   19                    THE TRIALanywhere HOST:      Yes.   It was a little

   20     bit of her microphone background picked up some noise there

   21     that cut him off, but he was coming through okay,

   22     Mr. Beckloff was.

   23                    THE COURT:    All right.    Well, let's try again.

   24     So I mean not the spelling.

   25                    THE WITNESS:    Yes.   Sorry.
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     1                     THE COURT:    Go ahead, Ms. Morgan.

     2                     MS. MORGAN:   Thank you very much.

     3    BY MS. MORGAN:

     4    Q.       Okay.    I think the question in hand was, what is

     5    PTX-31 and PTX-256?

     6                     Let's start there, Mr. Beckloff.      What are

     7    these?

     8    A.       These were presentations prepared by Collective

     9    Acumen and Jefferies regarding Silvergate's valuations.

   10     Q.       And are these documents that Silvergate had prepared

   11     in the ordinary course of its business?

   12     A.       Yes.

   13                      MS. MORGAN:   Now, can we look at PTX-37 and

   14     PTX-257.

   15     BY MS. MORGAN:

   16     Q.       And what are these?

   17     A.       These are presentations, internal presentations, that

   18     we provided for the company, as well as internal training

   19     presentations for the RTU launch.

   20     Q.       And does Silvergate regularly prepare internal

   21     presentations as part of its ordinary course of business?

   22     A.       Yes.

   23     Q.       For what purposes?

   24     A.       To provide the employees with business updates

   25     regarding the company, and to train our sales personnel as
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     1    the products were approved and launched.

     2                    MS. MORGAN:      Thank you.

     3                    We can unseal the courtroom, Your Honor.

     4                    THE COURT:       Thank you.    We'll do that.

     5                    (Silvergate sealed portion ends.)

     6                          *      *      *

     7                    MS. MORGAN:      May I proceed?

     8                    THE COURT:       Yes.

     9                    MS. MORGAN:      Okay.   Thank you.

   10     BY MS. MORGAN:

   11     Q.       Turning to the next slide.           Okay.   Looking at

   12     PDX-206, so, first, what is PTX-478?            And I believe you have

   13     a larger document in your binder if you need to look at it.

   14     A.       Yes.   This is the Bionpharma -- well, maybe I'd

   15     better -- yes.     This is the Bionpharma section of the ANDA,

   16     the ANDA labeled 2.3.2 drug product.            So it's a drug product

   17     part of the Bionpharma ANDA that's submitted to the FDA.

   18     Q.       Thank you.

   19                     And can you please tell us what we're looking at

   20     here, Table 1 from BION-ESOL-231?

   21     A.       Yes.   This is the quantitative unit composition of

   22     the enalapril maleate oral solution of Bionpharma, one

   23     milligram per mL.

   24     Q.       And are these the ingredients that you evaluated in

   25     Bionpharma's ANDA product listed under the column heading
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     1    ingredients?

     2    A.        Yes.    This is part of the information evaluated.

     3    Q.        Okay.    Now let's turn to the asserted claims.       Let's

     4    go to the next slide.

     5                      Looking at PDX-207 now, can you please explain

     6    for us what you understand to be the standard for literal

     7    infringement.

     8    A.        Yes.    When I evaluated these documents and the

     9    claims, I understand that literal infringement, the claim of

   10     the properly construed to determine its scope and meaning

   11     and the claim as properly construed must be compared to the

   12     accused product.       And for literal infringement, the patentee

   13     must prove that the accused product meets all limitations of

   14     the asserted claims.

   15     Q.        And did you evaluate individual elements of the

   16     asserted patents for literal infringement?

   17     A.        Yes.

   18     Q.        And can you please turn to docket number 170 in your

   19     binder?

   20     A.        Okay.

   21     Q.        And actually, can you please put up on the screen for

   22     everybody DI 170.

   23                       Did you review and use DI 170?

   24     A.        Yes.

   25     Q.        Okay.    And let's turn to page 4 of this document.
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     1                     Did you review and use the sections at the

     2    bottom starting, Silvergate's claims with respect to

     3    Bionpharma, that continues onto the next page?

     4    A.       Yes.    Yes, I did.

     5    Q.       Okay.    Let's go to PDX-208.     Oh, sorry, PDX-208.

     6    Back to the slide.      Thank you.

     7                     And what are we looking at here?      What is this

     8    chart illustrating?

     9    A.       These are the claim limitations, the elements

   10     literally infringed and not in dispute.

   11     Q.       And can you tell us -- thank you.

   12                      And can you tell us the last column, what that

   13     is referring to?

   14     A.       That's referring to that docket we were just looking

   15     at, DI 170.      It's referring to the various paragraphs in

   16     that document.

   17     Q.       All right.    The various undisputed facts in that

   18     document?

   19     A.       That's correct.

   20     Q.       Okay.    Let's look at PDX-209.     And is this the same,

   21     just additional claim limitation?

   22     A.       Yes, it is.

   23     Q.       And so you have asterisks at both in the bottom row

   24     and then a reference to Dr. Mahan.         Can you explain why that

   25     is?
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     1    A.       Yes.   For this element, I talked to doctor manual

     2    processing, and I'm not a medical doctor, so he assured me

     3    that the therapeutically equivalent amount was literally

     4    infringed and it wasn't in dispute either.

     5    Q.       And did you also review the product label yourself?

     6    A.       Yes, I did, as a pharmacist and professor, and it's

     7    clear that that claim limitation is infringed.

     8    Q.       And has Bionpharma's expert, Dr. Morrison, asserted

     9    that any of these elements that you've identified on PDX-208

   10     and 209 are not infringed?

   11     A.       No, he hasn't.

   12     Q.       All right.    Let's go to PDX-210, please, the next

   13     slide.

   14                     So I think you mentioned that there are elements

   15     that are met under the Doctrine of Equivalents, so looking

   16     at PDX-210, can you please identify those limitations for

   17     us?

   18     A.       Yes.   Those limitations, they're in both patents, and

   19     both limitations are there.

   20                     The buffer limitation, as I summarized, a buffer

   21     comprising about 0.8 to about 3.5 milligrams per mL citric

   22     acid and about 0.1 to about 0.8 milligrams per mL sodium

   23     citrate.    That, based on my analysis is infringed under

   24     Doctrine of Equivalents, and also the preservative

   25     limitation, about 0.7 to about 1.2 milligrams per mL sodium
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     1    benefit so weight is infringed under the Doctrine of

     2    Equivalents.

     3    Q.       Okay.

     4                     MR. ALUL:    Your Honor, Andy Alul.    I just want

     5    to make sure the record is clear.

     6                     It's our position the claim limitations by

     7    themselves can't be infringed.         They can be met.    Only

     8    claims in their entirety can be infringed.          I just want to

     9    put that on the record.        I don't have an objection right now

   10     at the moment.

   11                      THE COURT:    Okay.   Ms. Morgan, anything you want

   12     to say about that?

   13                      MS. MORGAN:   I think the witness is not a

   14     lawyer, so he's explaining his opinions the best that he

   15     can.    He's talking about specific limitations and how they

   16     are met in his view, so I think his testimony is what it

   17     is.

   18                      THE COURT:    All right.

   19                      MR. RUEDY:    I'm sorry, Your Honor.

   20                      THE COURT:    I was going to say you will all have

   21     a chance to question him as well, and I think at this point,

   22     I understand what is being presented.

   23                      MR. ALUL:    Thank you, Your Honor.    Understood.

   24                      THE COURT:    All right.

   25     BY MS. MORGAN:
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     1    Q.       So, thank you, Doctor.

     2                     So with the buffer and the preservative

     3    requirements in mind, let's turn to a brief review of the

     4    technology in this case.       Next slide, please.      PDX-211.

     5                     So what are we looking at here?

     6    A.       So these are the five elements of the technology that

     7    we need to understand and based on my analysis, these are

     8    the technology concepts that I dealt with.          Acids and bases,

     9    pH and pKa, buffers, stability and preservatives.

   10     Q.       Okay.    So first, tell us, what's an acid?

   11     A.       An acid is a molecule, a compound that donates

   12     protons using a bronze, that definition.

   13     Q.       And what is a base?

   14     A.       A base, again, using that definition, is a molecule

   15     or compound that picks up proton.

   16     Q.       Let's go to the next slide.       Looking at PDX-212, can

   17     you please generally explain what the pH of a solution

   18     represents?

   19     A.       Yes.    So first we start on the left.      You see on the

   20     bottom left there's a lot of proton, so that is acidic.

   21     That's an acidic species.

   22                      And then on the upper part, you have just a few

   23     protons.    That's a base species.      And you actually take the

   24     negative log or the number of protons and that gives you the

   25     pH.   And in between the systems where you have a lot of
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     1    protons and a few protons, that's the neutral condition, pH

     2    seven.    That's like water, the neutral water.

     3    Q.       Let's go to the next slide.       Looking at PDX-213, do

     4    we now know what the optimal pH for enalapril in a solution,

     5    such as a solution described in the patent?

     6    A.       Yes.   This slide showing that, and it states that the

     7    optimum pH is 3 to 3.5.       That is the pH at which you achieve

     8    the long term stability.       It's in the acid region, but it's

     9    the optimum pH.

   10     Q.       And are there different categories of as acids and

   11     bases?

   12     A.       Yes.   There are both weak and strong acids and weak

   13     and strong bases.

   14     Q.       And what's the difference between strong acids and

   15     bases and weak acids and bases?

   16     A.       Well, strong acids give up their protons very easily

   17     and give a lot of them, and the same thing with strong

   18     bases, pick up proton very easily, like hydroxide.            They're

   19     very reactive with protons and pick up protons, and then

   20     weak acids and weak bases are not as strong.

   21     Q.       Let's look at the next slide.       So looking at PDX-214,

   22     what are we looking here?

   23     A.       So this is assimilation of when happens you pour acid

   24     into an empty vial.      The solution goes in and creates a lot

   25     of hydrogen ions, which lowers the pH down to the acidic
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     1    region.

     2                          And then the next step, we're adding base,

     3    and when we add base, the pH starts to rise because we're

     4    taking the protons out of the system.         And then at the end,

     5    the acids and bases equilibrate and we end up with the pH,

     6    the optimal pH in this case, the pH that achieves the long

     7    term stability.

     8    Q.        So in the end, whether you have a strong or weak acid

     9    or base, is there any real difference in how they actually

   10     function in solution?

   11     A.        No.   It's the portions of those that determine what

   12     pH it would reach if they can't.

   13     Q.        Let's look at PDX-215.     So can you explain in PDX-215

   14     what is a buffer?

   15     A.        So on the left -- I'm trying to go what the buffer

   16     is.   On the left panel is a system where the buffer is on --

   17     where the system is unbuffered, and the left, the far left

   18     vial has protons, a lot of protons in it, no buffer, so it

   19     has a very low pH, so the bars should be down at the bottom.

   20     And I'm not sure whether we have the animation working, but

   21     we can come back.

   22                     So with a lot of protons, we have a very low pH,

   23     with no buffer.     With a lot of hydroxide, we have a very

   24     high pH.

   25                     And then if we move over to the buffer system,
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     1    if we now take out, if the buffer consumes some of the

     2    excess proton, and here I'm showing four of them with

     3    batches taken out, then the pH rises, because there are not

     4    as many protons that rises more towards the middle range.

     5    And the same with the base system.         If you take out a few of

     6    the hydroxide, the pH will fall and you will end up with,

     7    again, a pH at the optimum pH.

     8                   So the buffer system is set up to take out

     9    protons or hydroxide and cause us to reach an optimum pH.

   10     And so that's what those buffer components are doing.

   11     Q.       Let's go to PDX-216.      So how are acids and bases

   12     converted into buffers?

   13     A.       So there are two ways to make a buffer.         The first

   14     way is to mix the acid and the salt to the baths.           We'll

   15     just call a conjugate base.        It's on the left.

   16                    So we mix citric acid and sodium citrate.         And

   17     sodium acid is the weak acid.        Sodium citrate is the weak

   18     base.    But if we mix those two molecules, then they will

   19     react in solution and create a buffer as shown on the

   20     right.

   21                    And so on the right side under citric acid you

   22     see we have an OH, we have OHs.        Those are acidic.      Those

   23     are donating groups.      And on the far right we have sodium

   24     citrate, a sodium ionic in place of one of the protons.

   25     That sodium citrate on the far left is citric acid.
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     1                    Those equilibrate by donating a proton back and

     2    forth to create the buffer.        So when excess hydrogen ions

     3    appear in the solution, the sodium citrate, the one on the

     4    right, has an O and A, it can react with a proton and go to

     5    the left and consume that proton.

     6                    When hydroxide is in solution, it will react

     7    with a citric acid and go to the right to create the sodium

     8    citrate.

     9    Q.       And I think you mentioned the word conjugate base.

   10     Can you explain what that is?

   11     A.       Yes.   The conjugate base is created from the acid, so

   12     sodium citrate is a conjugate base, and it's conjugated.

   13     It's created from the acid typically by adding sodium

   14     hydroxide.

   15     Q.       Let's go to the next slide.       Looking at PDX-217, what

   16     is this showing that's different from the prior slide?

   17     A.       This is a second way of creating a buffer.         So you

   18     don't always have to mix the acid and the conjugate base.

   19     You can put the acid in and then add sodium hydroxide in

   20     what's called a substoichiometric amount.

   21                     And that --

   22     Q.       Let me stop you there.      What does that word mean,

   23     substoichiometric amount?

   24     A.       So it's, so it's less than the stoichiometry of the

   25     citric acid.     It's fewer molecules.
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     1                     So if we have a million molecules of citric

     2    acid, we might only add 500,000 sodium hydroxide molecules.

     3    So a sub, not enough to totally react with all the citric

     4    acid.

     5    Q.       Okay.    Please continue your explanation.

     6    A.       And so this is a well-known way to make buffers

     7    and I'm showing the reaction here.         I'm showing the

     8    reaction.

     9                     In this case, we have citric acid on the left

   10     reacting with a substoichiometric amount of sodium

   11     hydroxide.     So that then produces sodium citrate, the far

   12     right molecule, but there's some citric acid that's left

   13     over.

   14                      So you have -- you have -- and if we go back to

   15     the previous slide, we can see you have the same molecules,

   16     citric acid and sodium citrate.        And if you go to the next

   17     slide again.      On the right in the blue squares, you create

   18     the sodium citrate and that forms the buffer with the

   19     unreacted citric acid.

   20                      And then down below, I've just shown it in

   21     abbreviated form showing H two A reacts with sodium

   22     hydroxide to give water, plus HA and NA plus A.           And HA

   23     and NA plus A are the buffer system, the acid and the

   24     conjugate.

   25     Q.       So if I'm understanding, the equation at the bottom
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     1    is representing what you can do with any weak acid in a

     2    substoichiometric amount of the strong base; is that

     3    correct?

     4    A.       That's correct.

     5    Q.       Okay.    Well, let me rephrase.     Any weak acid to reach

     6    the proper pH; is that right?

     7    A.       That's correct.       When you do this addition, you are

     8    measuring th pH so you achieve the right pH for the buffer.

     9    So you set the buffer system at the appropriate pH.

   10     Q.       And so what happens if you add acid to the solution

   11     or if you add additional base?

   12     A.       Then the acid or base will be consumed by the buffer

   13     and you won't change the pH very much.          So you will be able

   14     to maintain a constant pH that's based on the composition of

   15     the acid and base.      The citric acid and the sodium citrate

   16     in this case.

   17                      MS. MORGAN:    Let's go to the next slide.

   18     BY MS. MORGAN:

   19     Q.       So looking at PDX-218.      What are the pKa values for

   20     citric acid and sodium citrate?

   21     A.       So I'm showing -- here, I'm showing pKa with the

   22     brackets and pH in the center panel.         And citric acid has

   23     three carboxylic acid groups, so it has three different

   24     protons.    And those protons have different strengths,

   25     different ease of donation, and thus the pKa.
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     1                   The pKa is equal to the pH when done in

     2    equal proportion of base and acid from Henderson and

     3    Hasselbalch.     But it works okay just to say the pKa tells

     4    you how strong the acid is.

     5                   So the strongest acid on citric acid is pKa of

     6    3.1 and next is 4.8 and the next is 6.4.

     7                   And then the brackets show the range at which

     8    those groups can buffer.       They show the range of plus or

     9    minus 2 pKa or pH units around the central pKa.           So, for

   10     example, a pKa 3.1, the bracket goes from 1.1 to 5.1 plus or

   11     minus 2, around 3.1.

   12                    And then I put the bar, I put the bar, the

   13     optimum pKa across in yellow.         And you can see by looking at

   14     this bar that that is between the brackets of the first two

   15     pKas of citric acid, so those two pKas will buffer this

   16     system -- can be used to buffer this system at pH 3 to 3.5.

   17     Q.       Does the pKa that equals 6.4 have any real buffering

   18     effect when the pH is 3 to 3.5?

   19     A.       No, that's too weak an acid.       It's outside the range

   20     of 3 to 3.5.

   21                    MS. MORGAN:    Okay.    So let's look at the next

   22     slide.

   23     BY MS. MORGAN:

   24     Q.       So looking at PTX-219.       What are we looking at here?

   25     Can you explain this?
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     1    A.       Yes.    This is related to what I was talking about

     2    previously.      This is called the Henderson-Hasselbalch

     3    Equation, and the best way to think about this is on the

     4    left panel.

     5                     Let's imagine that the pH of the solution was a

     6    pKa.

     7                     Then that means that there is an equal amount --

     8    because pH=pKa, if we have solve that equation, we have an

     9    equal amount of A minus and HA.        When pH=pKa and we solve

   10     the equation, we find an equal amount of HA and the A-.

   11                      When pH=pKa plus 2, we have a hundred times

   12     different in HA and A- because the log of 2 is 100.            The log

   13     of 100 is 2, pardon me.

   14                      So the pH=pKa concept allows us to draw those

   15     brackets on the previous, on the previous chart.

   16     Q.       Okay.    So you mentioned earlier that buffers prevent

   17     changes in pH when small quantities of acid and bases are

   18     added.

   19                      So why does pH matter in pharmaceutical liquid

   20     formulation?

   21     A.       Well, the pH, the proton or the hydroxide can react

   22     with the drug and destroy it, render it unstable.           It's not

   23     the acting molecule, it's some other molecule.           And that

   24     molecule may have adverse effects, may not treat the

   25     patient.    It doesn't work properly.
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     1    Q.       So we have heard the term "stability" a lot today.

     2    Why is stability important in a pharmaceutical formulation?

     3    A.       So for stability, we need to have a formulation

     4    that retains the molecule of the drug in its proper form

     5    throughout the shelf life of the product so that when you

     6    use it, either at the start and the end of the shelf life,

     7    it's the same molecule and it has the same effect on the

     8    body.

     9    Q.       Okay.    Thank you.

   10                      MS. MORGAN:   Let's turn now to preservatives.

   11     Let's go to PDX -- oh, thank you.

   12     BY MS. MORGAN:

   13     Q.       Looking at PDX-20, what is a preservative?

   14     A.       So I made this slide.      This is showing on the left a

   15     system where you have a preservative in a petri dish, and

   16     you can see there are no bacteria or fungi growing.

   17                      And then on the right, we had no preservative,

   18     and you can see that there are fungi and bacteria growing,

   19     some of which could be toxic molecules, dangerous microbes

   20     or fungi.

   21     Q.       And what is an antimicrobial preservative?

   22     A.       So an antimicrobial preservative prevents microbes

   23     from growing such as -- well, let's take salmonella.

   24                      If you don't use a preservative, you could have

   25     salmonella growing in some of these solutions, and that
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     1    would be very toxic to children and it can cause fatality.

     2                     So it's important in solution formulations to

     3    have a preservative.

     4    Q.       And could it also be damaging to the efficacy of the

     5    product?

     6    A.       Of course.    Because, again, if the -- if they're

     7    bacteria, that patients would be caused to have diarrhea and

     8    lose the product.      There are all kinds of factors that can

     9    come into play.

   10     Q.       Okay.    Thank you, Doctor.     Let's move on now.

   11                      MS. MORGAN:   Turning to PDX-221.

   12     BY MS. MORGAN:

   13     Q.       What does this slide show?

   14     A.       This slide shows part of my analysis of infringement.

   15     And this shows a person of skill in the art.

   16                      And on the left side, you could have -- a person

   17     of skill in the art could have a Ph.D. in formulation and

   18     not a lot of experience, or they could have a bachelor's

   19     degree in pharmacy or related areas and at least 5 years

   20     experience.

   21     Q.       And then could you talk about what is at the bottom

   22     as well?

   23     A.       Yes.    And then a POSA would have experience with

   24     excipients as well as drug formulation, therapeutic

   25     applications, and would also collaborate with a medical
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     1    doctor.

     2    Q.        Thank you.    And did you use this definition in your

     3    analysis of this case?

     4    A.        Yes.

     5    Q.        And are you a person of ordinary skill in the art?

     6    A.        Yes.

     7                     MS. MORGAN:   Let's turn to the next slide.

     8                     Oh, actually.   Sorry.   Go back one.

     9    BY MS. MORGAN:

   10     Q.        Has this definition been agreed to by both parties?

   11     A.        Well, it hasn't completely been agreed to.        But it's

   12     very -- my definition is very similar to Dr. Morton.            And

   13     even if I did my analysis using his definition, I would come

   14     to those same conclusions.

   15                      MS. MORGAN:   Let's go to the next slide.

   16     BY MS. MORGAN:

   17     Q.        So looking at PDX-222, what does this slide show?

   18     A.        This slide shows the joint claim construction chart,

   19     and the one claim that had -- one phrase, pardon me, that

   20     had an agreed-upon construction.

   21     Q.        And did you use that construction of "about" meaning

   22     "approximately" in your analysis?

   23     A.        Yes, I did.

   24     Q.        And how did you approach claim terms without an

   25     expressly agreed-upon meaning?
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     1    A.        I used the clear and ordinary meaning for those

     2    terms.

     3    Q.        Thank you.      Let's turn now to your infringement

     4    analysis.

     5                      THE COURT:     Actually, before we get into that,

     6    let's take a break.           About 15 minutes.

     7                      MS. MORGAN:     Certainly.

     8                      THE COURT:     Okay.   About 15 minutes, then we'll

     9    return.    Bye-bye.

   10                       (Brief recess taken.)

   11                       *       *      *

   12                       (Proceedings reconvened after recess.)

   13                       THE COURT:     All right.    I'm ready to proceed if

   14     you all are.

   15                       MS. MORGAN:     Yes, Your Honor.

   16                       MR. ALUL:     Yes, Your Honor.

   17                       MR. MADDOX:     Yes.

   18                       THE COURT:     Go ahead.

   19     BY MS. MORGAN:

   20     Q.        Okay.       Before we move on, Dr. Byrn, you were just

   21     talking about PDX-222?

   22     A.        Yes.

   23     Q.        And I just want to confirm that the joint claim

   24     construction chart that you used for claim construction, is

   25     it DTX-1074?
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     1    A.       Yes, it is.

     2    Q.       Okay.    Now, let's go to the next subject and talk

     3    about specifically the buffer limitation.

     4                     So looking at PDX-223, I believe we looked at

     5    this earlier; right?

     6    A.       Yes, we did.

     7    Q.       This is, again, from PTX-478 at BION-ESOL-231.

     8                     So looking here at Table 1 of the ingredients of

     9    Bionpharma's ANDA, can you please identify for us what is

   10     the buffer that Bionpharma has.

   11     A.       Yes.    So Bionpharma creates a buffer using that

   12     reaction No. 2 by reacting enalapril maleate with sodium

   13     hydroxide.      And that creates the buffer -- the maleate

   14     buffer in that enalapril is the active ingredient, the drug

   15     molecule.

   16     Q.       Thank you, Doctor.     So if I understood you correctly,

   17     despite enalapril maleate being listed as the active

   18     ingredient, the enalapril maleate part of that is used for

   19     the buffer; is that correct?

   20     A.       That's correct.     The maleate is, and I have some

   21     slides, but it is a well-known acid-buffer-forming species.

   22     So it can -- it will act as a buffer, and then enalapril is

   23     the acting drug, the acting moiety.

   24     Q.       Okay.    So let's talk about how you identified --

   25     actually can you explain a little bit more about the process
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     1    of how you get a buffer?

     2    A.       Again, this is what --

     3    Q.       From --

     4    A.       -- I covered earlier.

     5                     So if you take maleate, maleic acid, maleate,

     6    and add sodium hydroxide, then that will react with the acid

     7    protons and create a buffer system exactly in the same way

     8    that citric acid with sodium hydroxide creates a buffer.

     9                     MS. MORGAN:   Okay.   So to start, let's go to the

   10     next slide.

   11     BY MS. MORGAN:

   12     Q.       Looking at PDX-224, what is PTX-476 that is cited on

   13     this slide?

   14     A.       This is part of the ANDA, the ANDA.        And it is the

   15     part of the labeling section of the ANDA of Bionpharma's

   16     ANDA label.

   17     Q.       Okay.    And we're looking at BION-ESOL-87.

   18                      So can you please explain the significance of

   19     this information as it relates to your opinions?

   20     A.       So as I was explaining, the enalapril is the active

   21     ingredient.      And so this statement says each 1 mL contains

   22     1 milligram of enalapril maleate equivalent to

   23     0.764 milligrams of enalapril.

   24                      So the enalapril, part of the enalapril maleate

   25     is .764 milligrams.      And then the total rate is 1, so I show
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     1    below 1 minus .764 leaves .0236 milligrams of maleic acid,

     2    maleic compound.

     3    Q.       And is that --

     4    A.       And that is true of the dissociation of the enalapril

     5    maleate.    When you dissolve enalapril maleate, it

     6    dissociates into its components.        That is a basic principle

     7    of salt chemistry.      So when the solution is made of

     8    enalapril maleate, the components separate and are

     9    dissociated.

   10     Q.       And is the maleic compound what reacts with the

   11     sodium hydroxide?

   12     A.       That is correct.      The first drops of sodium hydroxide

   13     react with the maleic compound.

   14     Q.       Okay.    Thank you.

   15                      MS. MORGAN:   Let's go to the next slide.

   16     BY MS. MORGAN:

   17     Q.       So looking at PDX-225, which, again, is the table

   18     we were just looking at at PTX-478 at BION-ESOL-231.

   19     What is the amount of sodium hydroxide -- or what is the

   20     concentration of sodium hydroxide in Bionpharma's ANDA

   21     product?

   22     A.       So sodium hydroxide here on this slide is shown as a

   23     pH adjuster.      So that is -- in effect, that's the process.

   24     It is changing the pH by taking protons out.

   25                      So this is just confirming the role of sodium
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     1    hydroxide in the system.

     2    Q.       And what is the concentration of it?        Can you tell?

     3    A.       I calculated the concentration from the batch

     4    records.

     5                     Here, it says QS, which means quantum satis,

     6    which means add the right amount of sodium hydroxide but no

     7    more.

     8                     So in this case, they added the right amount

     9    of sodium hydroxide to get to the optimum pH.           And in that

   10     process, they created a buffer.

   11                      MS. MORGAN:   Okay.   Let's look at those batch

   12     records.

   13                      Can we go to the next slide.

   14     BY THE WITNESS:

   15     A.       So these are --

   16     Q.       Okay.    Looking at --

   17     A.       Sorry.

   18     Q.       That's okay.

   19                      Let me ask, because I know you are probably

   20     going to answer the question I'm going to ask.

   21                      Looking at PDX-2267, first tell me, please, what

   22     PTX-492, 494, and 495 are?

   23     A.       These are the various batch records for different

   24     preparations; three different runs where they prepared

   25     the -- Bionpharma prepared the formulation.
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     1    Q.       And is this what you used to determine the amount of

     2    sodium hydroxide that they actually used?

     3    A.       Yes, because in that ANDA, these runs are the runs

     4    that are submitted to the FDA that verify that they're

     5    making the product.

     6    Q.       Did you prepare a summary of the information you used

     7    from the batch records?

     8    A.       Yes, I did.

     9                    MS. MORGAN:   Let's look at the next slide.

   10     BY MS. MORGAN:

   11     Q.       So PDX-229, is this your summary?

   12     A.       Yes.   So all three of the batch records used

   13     120 liters of solution.

   14                     And then in two of them, they added 95 grams of

   15     sodium hydroxide, one they added 100 grams.

   16                     And then just by dividing, I can calculate the

   17     milligrams per mL, and it's either .030 or .032 for those

   18     three batches.

   19     Q.       And can you please confirm that this summary comes

   20     from BION-ESOL -- sorry.       Let me start over.

   21                     Can you please confirm that this information

   22     comes from PTX-492, BION-ESOL-1783, PTX-494, BION-ESOL-1852,

   23     and PTX-495 at BION-ESOL-196 and 197 because it's cut off on

   24     the slide.

   25     A.       Yes.   Sorry.
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     1                     Yes.    I can confirm that.

     2    Q.       Thank you.

     3                     Okay.   And so looking at the end concentration

     4    of NaOH, what did you do with that?

     5    A.       So then I can use that to calculate the buffer

     6    formulation or describe the buffer formulation further.

     7    Q.       Okay.

     8    A.       A couple -- yes, the -- yes.

     9    Q.       So what, just to recap, is the Bion pharma buffer

   10     that you analyzed for the Doctrine of Equivalents?

   11     A.       Sorry.    Can you repeat that question?

   12     Q.       Certainly.      So to recap our discussion, what is the

   13     buffer that is in Bionpharma's ANDA formulation that you

   14     analyzed for the Doctrine of Equivalents?

   15     A.       Sure.    It's the buffer created from reacting maleic

   16     acid with the sodium hydroxide.

   17     Q.       Okay.

   18     A.       And maleic acid is formed by association of enalapril

   19     maleate.

   20                      MS. MORGAN:   Let's go to the next slide.

   21     BY MS. MORGAN:

   22     Q.       Looking at PDX-228.      What standards did you apply in

   23     your analysis for evaluating infringement under the Doctrine

   24     of Equivalents?

   25     A.       So this shows that I -- the two analyses that I
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     1    applied, one was a function-way-result test and one was the

     2    insubstantial differences test.

     3                    I applied both of these to the chemistry that

     4    I've just outlined.

     5    Q.       Thank you.

     6                    MS. MORGAN:   Let's go to the next slide.

     7    BY MS. MORGAN:

     8    Q.       Looking at PDX-229.     Can you just summarize what

     9    your conclusion was with respect to buffer under the

   10     function-way-result test?

   11     A.       Yes.   I determined that the function of Bionpharma's

   12     maleate buffer was the -- was that it adjusted and

   13     stabilized the pH.      And the way it did it was it removed

   14     excess hydrogen and hydroxide ions, and the result was a

   15     stable product at the optimum pH.

   16                     MS. MORGAN:   Let's go to the next slide.

   17     BY MS. MORGAN:

   18     Q.       And can you please summarize your conclusion

   19     regarding buffer under the insubstantial differences test.

   20     A.       Yes.   And also under that test, the maleic acid,

   21     sodium maleate buffer formed from the maleic acid and sodium

   22     hydroxide in the claimed buffer are insubstantial.            Because

   23     you can make the buffer either way.         It's just an

   24     alternative way of making the buffer.

   25     Q.       Thank you, Doctor.
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     1                          Now, let's talk first about the function.

     2    Can we go to the next slide.

     3    A.       Yes.

     4    Q.       So looking first at the function, does the patent

     5    support your opinion?

     6    A.       Yes.    The patent supports my opinion that the -- that

     7    this buffer adjusts and stabilizes the pH.

     8    Q.       Go to the next slide.      Looking at PDX-232, and what

     9    are we looking at here?

   10     A.       This is an excerpt from the specifications of the

   11     patent, and it says, buffering agents maintain the pH of the

   12     liquid enalapril formulation.        So it's setting out exactly

   13     the analysis that I performed, that the buffering agents

   14     maintain the pH of the enalapril.

   15     Q.       And is that from PTX-1 at column 13, lines 5 through

   16     7?

   17     A.       Yes.

   18     Q.       Okay.    Let's go to the next slide.

   19                      And looking at PDX-233, what does this show?

   20     A.       This is a statement for -- of one of Bionpharma's

   21     witnesses, Dr. Cacace, and she agreed that you can adjust

   22     the pH in multiple ways and using a buffer is one of the

   23     ways to adjust pH and just supporting that the sodium

   24     hydroxide malic acid is one of the ways to adjust pH.

   25     Q.       Let's go to the next slide.
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     1                    Looking at PDX-234, first of all, what is

     2    PTX-497?

     3    A.       It's the Handbook of Excipients, and that's a major

     4    volume that pharmaceutical scientists use to understand

     5    various excipients like malic acid.

     6    Q.       And is this a reliable authority?

     7    A.       Yes, absolutely.

     8    Q.       And so can you tell us how the handle book of

     9    pharmaceutical excipients supports your opinion regarding

   10     function, that it's the same between the Bionpharma buffer

   11     and the claimed buffer?

   12     A.       Yes.   It's saying a malic acid --

   13                     MR. ALUL:    Your Honor, I just have an objection

   14     about slide 233.      It characterizes Dr. Cacace as a

   15     Bionpharma witness.      In fact, she's not.      She's a

   16     third-party witness.        She's a witness for a company called

   17     CoreRx, who is Bionpharma's contract manufacturer.

   18     Q.       All right.

   19                     MS. MORGAN:    Your Honor, pursuant to the

   20     pretrial order, we provided these slides last night.

   21     Counsel is obligated to raise any objection.           And pursuant

   22     to the pretrial order, any objections not provided this

   23     morning that could have been raised based on the face of the

   24     slides are waived.

   25                     MR. ALUL:    Your Honor, I'm just clarifying our
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     1    position on this issue.       Dr. Cacace is not a Bionpharma

     2    witness and it will be evident from her deposition

     3    transcript as such.

     4                    THE COURT:   Okay.   Well, I think if you're

     5    stating any objection, it's an objection to a slide and that

     6    is waived.      Obviously, you'll have a chance to ask questions

     7    of any witness that's coming up, including this one.            So

     8    overruled.      Let's move on, please.

     9    BY MS. MORGAN:

   10     Q.       I'm sorry.     I think your answer was interrupted, so

   11     let me repeat.     How does the Handbook of Pharmaceutical

   12     Excipients support your opinion that the function of

   13     Bionpharma's buffer and the claimed buffer are the same?

   14     A.       Well, it's stating that malic acid is a buffering

   15     agent, so it's saying it has the same function that the

   16     citric acid has.

   17     Q.       And let me ask you to just go back one slide for a

   18     housekeeping matter.      Regarding the Cacace testimony for the

   19     record that you referred to on PDX-233, was that from the

   20     transcript of the Cacace deposition at page 26, lines 22

   21     through page 27, line 19?

   22     A.       Yes.

   23     Q.       Thank you.

   24                     Okay.   So can you please advance one slide, back

   25     to PTX-234.     Okay.
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     1                     And is there evidence from Bionpharma's ANDA

     2    that also supports your conclusion that the function between

     3    the two buffers is the same?

     4    A.       Yes.

     5    Q.       Can you go to the next slide.       Looking at PDX-235,

     6    again, have we seen this table several times now today?

     7    A.       Yes.

     8    Q.       Okay.    And it's from Bionpharma's ANDA?

     9    A.       That's correct.

   10     Q.       Okay.    Looking at Table 1 of the ANDA again, which is

   11     from PTX-478, BION-ESOL-231, can you please tell us how this

   12     table supports your opinion that Bionpharma's buffer has the

   13     same function as the claimed buffer?

   14     A.       Yes.    It's saying that sodium hydroxide is a pH

   15     adjustment, so it's adjusting the pH of the buffer,

   16     playing the role in creating a buffer by the mechanism,

   17     too.

   18     Q.       Let's go to the next slide.       And looking at PDX-236,

   19     referring to PTX-478 at BION-ESOL- 246 to 247, can              you

   20     tell us how this supports your opinions regarding function?

   21     A.       Yes.    This is part of Bionpharma's ANDA also and

   22     they're saying here, they are really talking about

   23     sodium hydroxide.      They didn't use hydrochloric acid, so

   24     they are saying it's a functional component for the

   25     formulation pH, and it was added to adjust the pH to a
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     1    predetermined target.

     2    Q.        And what does this further confirm for you?

     3    A.        It has further confirmed that Bionpharma has used a

     4    pH -- pardon me, used sodium hydroxide to adjust the pH to

     5    the optimum pH for the buffer system.

     6    Q.        Now, I see that this also mentions hydrochloric acid.

     7                           Does this have any role in Bionpharma's

     8    ANDA product?

     9    A.        No.    They didn't use hydrochloric acid in any of

   10     their batches.       I reviewed the batch record and we didn't

   11     use hydrochloric acid.

   12     Q.        Okay.    Let's go to the next slide.

   13                       Looking at PDX-237, which comes from -- which is

   14     referring to PTX-498, can you please tell us what PTX-498

   15     is?

   16     A.        It's the Bionpharma Pharmaceutical Development

   17     Report.    It's part of an ANDA.

   18     Q.        And this is referring to PTX-498 at BION-ESOL-606 to

   19     607.

   20                       Can you please tell us how this supports your

   21     opinion regarding the function being the same between the

   22     two buffers?

   23     A.        Yes.    Again, it's saying that same thing, that the pH

   24     adjustment is performed using .1 normal sodium hydroxide and

   25     then it's also saying these excipients are used to adjust
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     1    the final pH as needed.

     2    Q.       Okay.    So let's go to the next slide.       So looking at

     3    PDX-238, we're at the end of your conclusion regarding

     4    function.

     5                     Let's move on to way.    Let's look at PDX-239.

     6    Can you tell us -- just remind us, what is the way in which

     7    Bionpharma's buffer and the claimed buffer function that's

     8    the same?

     9    A.       So this is like those bottles that I was showing.

   10     The way is it takes these hydrogen ions or the hydroxide

   11     ions out of solution, and so that way it prevents the pH

   12     from deviating very much from the optimum pH.

   13     Q.       Let's go to the next slide.       Looking at PDX-40, it

   14     looks like we -- this looks familiar to something we looked

   15     at earlier, but can you explain how this specifically

   16     relates to your opinions regarding the way being the same in

   17     which the two buffers operate, function?

   18     A.       Yes.    This is on the right side and this is showing

   19     citric acid, but, again, let's say there were excess protons

   20     as shown on the right side with this equation.           The

   21     conjugate base, the ONA, would react with that said

   22     proton and form citric acid.        So it's a way of scavenging

   23     protons.    This is the way citric acid will work.         And I

   24     will show subsequently that malic acid will work the same

   25     way.
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     1    Q.       Let's go to the next slide.       So looking at PDX-241,

     2    again, we kind of touched on this earlier, it looks like,

     3    but explain now how this is similar or different to what you

     4    talked about earlier in your opinion.

     5    A.       So this summarizes what I've been testifying.          So on

     6    the left side, we have malic acid coming in from the

     7    enalapril maleate and then we're adding sodium hydroxide

     8    in a substoichiometric amount to make a buffer, and so

     9    that is what happens to the bottle as I've been testifying

   10     about.

   11                    And then if we look at the molecule, on the

   12     left, we have a malic acid molecule, so it's a carboxylic

   13     acid reacting with a substoichiometric metric amount of

   14     sodium hydroxide.       It produces water.    There's -- and then

   15     in the blue box is the buffer.        It's the leftover malic acid

   16     plus the sodium maleate.       That makes the buffer that can

   17     scavenge the protons or hydroxide ions from the solution.

   18                    And then down below I've just shown the same

   19     equation I showed earlier where reacting an HA with a

   20     substoichiometric amount of sodium hydroxide producing

   21     water, leaving some HA and then having the sodium A minus

   22     the conjugate phase.

   23                    And --

   24     Q.       And that --

   25     A.       That's my chemistry analysis.
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     1    Q.        And so is this what is happening in Bionpharma's ANDA

     2    product to create a buffer?

     3    A.        That's correct.    This is how Bionpharma creates a

     4    buffer.

     5    Q.        Okay.    Let's look at the next slide.

     6                      So looking at PDX-242, which again refers to the

     7    table we've been looking at all day at PTX-478, BION-ESOL-

     8    231, can you please explain the chemical sequence of events

     9    in order that happened in Bionpharma's ANDA product with

   10     reference to the ingredients in Table 1?

   11     A.        Sure.    So I've been explaining this.     It's just a

   12     summary.    So enalapril and the other ingredients are

   13     dissolved, and then at the end, sodium hydroxide, the bottom

   14     component, is added to adjust the pH to the proper pH, and

   15     that achieved the optimum pH and the stability of the

   16     product.    If you didn't do that step, you wouldn't have a

   17     stable formulation.       You wouldn't be able to bring the

   18     product on the market.

   19     Q.        So I think you mentioned earlier absorbing excess H

   20     plus or H minus ions.       Can you explain what you mean by that

   21     with respect to Bionpharma's ANDA buffer system?

   22     A.        So Bionpharma's ANDA pharma system has both conjugate

   23     bases and acids.       So like I showed in the bottles, if

   24     there's an excess of protons, the conjugate bases will take

   25     them out.    If there's an excess of hydroxide, the conjugate
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     1    acid will take them out.       So it will maintain the optimum pH

     2    and prevent degradation, achieve desired stability.

     3    Q.       Let's go to the next slide.

     4                          So looking at PDX-243, can you please

     5    explain what we're looking at here on PDX-243?

     6    A.       On the left side is the same diagram I showed

     7    earlier.    That shows the citric acid and the brackets

     8    rejoined.    The pH range are the different buffers from the

     9    different carboxylic acids.

   10                    Citric acid has three carboxylic acids, so it in

   11     principle could have three different buffers operating at

   12     those pH ranges where the brackets are.

   13                    And then I added to the right malic acid.         It

   14     has two carboxylic acid groups, very similar structurally.

   15     And those two brackets show where malic acid operates, and

   16     you can see malic acid has a buffering range that

   17     encompasses the optimum and, of course, citric acid does

   18     also.

   19     Q.       And with respect to the pKa 6.4 for the citric acid

   20     that is above the pH and the pKa for the malic acid that is

   21     6.24 above the pH range, do either of those have any

   22     buffering effect?

   23     A.       No, those wouldn't have any buffering effect in this

   24     system at 3 to 3.5.

   25     Q.       Now, were there parts of Bionpharma's ANDA that also
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     1    support your opinions that the way is the same?

     2    A.       Yes, there are.

     3    Q.       Let's go to the next slide.

     4                          Looking at PDX-244, first, I believe you

     5    already told us what PTX-498 is, so looking specifically at

     6    BION-ESOL- 622 to 623, can you tell us specifically what we

     7    are looking at here?

     8    A.       Yes.   This is the titration curve experiment that

     9    Bionpharma did.     It's headed, figures ten, formulation

   10     development study, pH curve for enalapril maleate.

   11                           And on the left axis it's showing on a

   12     vertical, on the Y axis on the left side, it's showing pH.

   13     On the right side, moles of NOA.        And if you look at the

   14     first two circles coming from the left, one is a little

   15     below three and one is above three.         Those are covering the

   16     optimum pH range of 3 to 3.5.

   17                     And the level curve shows that they are

   18     buffering in that range.       And if you didn't have the buffer,

   19     you would have gotten -- the 0.2 point would have been up

   20     just about four and so it would have been much higher.            And

   21     so this shows very clearly that the buffering occurred and

   22     it also shows that the sodium, the enalapril maleate

   23     dissociated and reacted with the hydroxide, because if it

   24     didn't do that, it would have gone up to four, close to

   25     four.    By staying lower nearer 3, 0.2, the second point in
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     1    that shows very clearly that the buffering system is

     2    working, it's consuming hydroxide, and that the enalapril

     3    maleate is dissociated.

     4    Q.        Sodium hydroxide, okay.

     5                   MS. MORGAN:    Okay.   Let's go to the next slide.

     6    BY MS. MORGAN:

     7    Q.        So what is your end conclusion regarding way?

     8    A.        So like I showed on that titration curve, the maleate

     9    system, the Bionpharma maleate system is removing -- in

   10     that case it is removing excess hydroxide ions, and it is

   11     maintaining a pH.

   12                    And that experiment they did directly in the

   13     ANDA.

   14                    MS. MORGAN:    Okay.   Now let's go to PDX-246 and

   15     turn to the results.

   16     BY MS. MORGAN:

   17     Q.        What is your end conclusion regarding why the claimed

   18     buffer and Bionpharma's buffer achieve the same result?

   19     A.        Well, like I was showing again on that titration

   20     curve, the result, and we know that Bionpharma's product is

   21     in the optimum range, 3 to 3.5.        So it maintains that pH

   22     range which produces a stable product.

   23                    MR. MADDOX:    Okay.   Let's go to the next slide,

   24     please.

   25     BY MS. MORGAN:
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     1    Q.       Looking at PTX-247.     Can you tell us how this

     2    supports your opinion regarding results?

     3    A.       Yes.   This is just a statement that is not contested.

     4                    Bionpharma and Silvergate agree that

     5    Bionpharma's ANDA product is stable, as defined in the

     6    Bionpharma asserted claims, at about 5 plus or minus 3

     7    degrees C for at least 24 months.

     8    Q.       And did you also look at stability data that is

     9    consistent with that as well?

   10     A.       Yes, I did.

   11                     MS. MORGAN:   Okay.   Let's go to the next slide.

   12     BY MS. MORGAN:

   13     Q.       Looking at PDX-248.     And this is referring to

   14     PTX-484.    What is PTX-484?

   15     A.       This is a part, again, a part of the ANDA, another

   16     part of the ANDA, and it's part of the module 3 quality

   17     section of the ANDA.

   18     Q.       And referring now specifically to the pages that are

   19     on the screen, PTX-484, BION-ESOL-1541 and 1544.

   20                     Can you tell us how this supports your opinion

   21     that the result is the same between the claimed buffer and

   22     Bionpharma's buffer?

   23     A.       Here, they're showing that Bionpharma's buffer is

   24     meeting THE unspecified impurity specifications for

   25     24 months, and the total impurity specifications through 24
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     1    months, which are part of the claims of claim 1.

     2                    MS. MORGAN:   Okay.    Let's go to the next slide.

     3    BY MS. MORGAN:

     4    Q.       So looking at PDX-249.       What is PTX-485, which is

     5    referred to here?

     6    A.       Sorry.

     7    Q.       Take your time.

     8    A.       That's an ANDA exhibit and registration batches --

     9    sorry.    That's ANDA exhibit and registration batches, a

   10     report on those.      That's part of the ANDA.      Related to the

   11     ANDA really.

   12     Q.       So looking at the page referred here, which is

   13     from PTX-485, BION-ESOL-1758, can you please tell us how

   14     these portions support your opinion that the results are

   15     the same?

   16     A.       Yes.   The conclusion, the first one is that they

   17     indicate the drug product is stable based on that study.

   18     And then a later one, they say the drug product will

   19     consistently meet the specifications through the proposed

   20     24-month shelf life.

   21     Q.       And so does this support your conclusion that

   22     Bionpharma's ANDA product will be stable for at least

   23     24 months?

   24     A.       Yes.

   25     Q.       Did you also look at 24-month stability data?
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     1    A.       Yes, I did.

     2    Q.       Can you take a look at PTX-122, 123, and 124 and tell

     3    me what those are?

     4    A.       Those are some stability summaries that are for the

     5    enalapril maleate oral solution.        And those are part of the

     6    ANDA that were carried out later after the ANDA was filed

     7    was completed and just following up on the stability.

     8                    MS. MORGAN:   Okay.   Let's go to the next slide,

     9    PDX-250.

   10     BY MS. MORGAN:

   11     Q.       And did you prepare a summary of that data?

   12     A.       Yes, I did.    This table summarizes the stability

   13     studies of 5 degrees centigrade.        And you can see they have

   14     studied different lots, and you can see on the assay numbers

   15     that they're all 98.1 and higher.         98.0 is one of them, so

   16     above 98.    And the impurities are quite low.

   17                     And this shows that there aren't a large amount

   18     of protons or hydroxide created.        If there were a lot of

   19     protons or hydroxide created in these stability studies, the

   20     assay would be much greater, change much more.

   21                     So it just shows a small amount of degradation.

   22     Q.       And for the record, does this come from PTX-122 at

   23     CORE-ESOL-45570, PTX-123, at CORE-ESOL-45574, and PTX-124 at

   24     CORE-ESOL-45564?

   25     A.       Yes.
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     1    Q.       Thank you.    And I'm sorry, I didn't catch it.        Did

     2    you say what the temperature conditions were for this study?

     3    A.       I think I did but they're 6 degrees.        It's the

     4    heading up there.      They were 5 degrees centigrade for

     5    24 months.

     6    Q.       Thank you.

     7                     MS. MORGAN:   Okay.   And let's go to the next

     8    slide.

     9    BY MS. MORGAN:

   10     Q.       So I think we have covered all three.         So can you

   11     please give us your end conclusion regarding the

   12     function-way-result test for the buffer when comparing

   13     Bionpharma's buffer to the claimed buffer?

   14     A.       Yes.    So like I've been testifying, Bionpharma's

   15     maleate/sodium hydroxide buffer has the same function in

   16     that it adjusts and stabilizes the pH, and it works in

   17     the same way, again, the bottles by removing hydrogen or

   18     hydroxide ion, and it results in the same thing as stable

   19     product for 24 months.

   20     Q.       Okay.    And did you also analyze the Doctrine of

   21     Equivalents under the insubstantial differences test?

   22     A.       Yes.

   23                      MS. MORGAN:   Let's go to the next slide.

   24     BY MS. MORGAN:

   25     Q.       Can you please tell us your conclusion under the
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     1    insubstantial differences test, looking at PDX-252?

     2    A.       Yes.   I did several different elements.        I looked at

     3    several different elements under insubstantial differences

     4    and concluded that there were -- the differences were

     5    insubstantial.

     6                    MS. MORGAN:   Let's go to the next slide, which

     7    is PDX-253.

     8    BY MS. MORGAN:

     9    Q.       Can you please tell us your reasons for finding the

   10     differences were insubstantial between the two buffers?

   11     A.       So these are the five factors that I looked at to

   12     determine insubstantial differences.

   13                     First of all, both the claimed sodium and

   14     citrate, citric acid and the Bionpharma's maleic acid,

   15     sodium maleate, sodium hydroxide buffer, both of those are

   16     common buffering agents.

   17                     Second, both are known to be soluble in water,

   18     and, like I said, dissociate.

   19                     And the functional group -- third, the

   20     functional group responsible for donating or accepting

   21     protons is the carboxylic acid group.         They're both

   22     carboxylic acid containing molecules.

   23                     The pKas are within their buffering range, allow

   24     buffering, and a POSA would understand how to interchange

   25     citric acid and maleic acid in a buffer -- a person of skill
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     1    would know how to interchange maleic acid and citric acid in

     2    a buffer system based on their known properties to achieve

     3    the desired pH and stability.

     4    Q.       And did your analysis under the function-way-result

     5    test also lead to your conclusions of the insubstantial

     6    differences test?

     7    A.       That's correct.     It's also supported by the

     8    function-way-result analysis.

     9                   MS. MORGAN:    Let's look at the next slide.

   10     BY MS. MORGAN:

   11     Q.       So looking at PDX-254, which -- is this also -- it

   12     refers to PTX-497.      We're looking at the same Handbook of

   13     Pharmaceutical Excipients we looked at before?

   14     A.       Right.   And this is part of the insubstantial

   15     differences analysis.       They both have -- this shows maleic

   16     acid, and it has carboxylic acid groups like citric acid.

   17                    And I already testified, it is used as a

   18     buffering agent in the industry.        It has the pKas that I

   19     showed on the brackets.

   20                    And it is quite soluble in water.

   21                    MS. MORGAN:    Let's go to the next slide.

   22     BY MS. MORGAN:

   23     Q.       Looking at PDX-255.     This does have a different PTX

   24     number, 180, but is this from the same Handbook of

   25     Pharmaceutical Excipients?
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     1    A.       Yes.

     2    Q.       And can you please tell us how this section at

     3    SLVGT-EPA-102994 to 995 supports your opinion?

     4    A.       Yes.   This shows carboxylic acid groups.

     5                    Citric acid also, and it is widely used to form

     6    buffers.

     7                    It has three pKas, like I showed on the

     8    brackets.

     9                    And it also has good solubility.

   10                     MS. MORGAN:   All right.    Let's go to the next

   11     slide.

   12                     And looking at the amount of the buffer.

   13                     Looking at PDX-256.

   14     BY MS. MORGAN:

   15     Q.       Can you please explain for us what this slide is

   16     showing?

   17     A.       So on the left side are the amounts of the buffer and

   18     the elements of the claim.       And on the right side are the

   19     amounts of the buffer that I calculated based on the

   20     1 milligram per mL enalapril maleate.

   21                     And like I am saying, they both exert a

   22     substantially equivalent effect, like I have been

   23     testifying, by adjusting and maintaining a pH.

   24                     And achieve a stable product.

   25     Q.       And the calculations on the right side, did we go
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     1    through those earlier in your opinion?

     2    A.       That's right.    We went through those earlier.

     3    Q.       Okay.    So considering the function of Bionpharma's

     4    buffer, does the amount of the maleic acid/sodium maleate

     5    buffer in Bionpharma's ANDA product perform the same

     6    function as the claimed buffer?

     7    A.       Yes.

     8                     MS. MORGAN:   Okay.   So can you take it to a

     9    black screen?

   10     BY MS. MORGAN:

   11     Q.       So are you aware that Bionpharma's expert,

   12     Dr. Morton, raises a few arguments against the

   13     applicabilities of the Doctrine of Equivalents?

   14     A.       Yes.

   15     Q.       Are you aware of Dr. Morton's opinion that you

   16     have not demonstrated that enalapril maleate completely

   17     dissociates to enalapril and maleic acid?

   18     A.       Yes, I am.

   19     Q.       What is your response to that?

   20     A.       Well, again, it is going to that titration curve.

   21     That clearly shows dissociation of the enalapril maleate.

   22                      And further, it's a basic principle of salt

   23     chemistry that enalapril maleate will dissociate in these

   24     solutions that are being used.

   25     Q.       So is Dr. Morton just wrong as a matter of
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     1    chemistry?

     2    A.        That's correct.    I think so.    I think the ANDA

     3    shows and that titration shows that that argument isn't

     4    correct.

     5    Q.        And are you aware of the opinion that a buffering

     6    system typically cannot form with a combination of a weak

     7    acid and a strong base?

     8    A.        I am.

     9    Q.        Is that correct from a scientific perspective?

   10     A.        No, it's the method to forming a buffer involves

   11     starting with the acid and adding a strong base.           And

   12     it's -- again, it's not -- I don't believe that it's correct

   13     to say that that can't -- that isn't a way to form a buffer

   14     because when you do that, in the end you have that same

   15     molecules present as if you formed the buffer by the other

   16     method.

   17     Q.        And when you say method 2, are you referring to

   18     earlier in your opinions when you called it, I think, buffer

   19     2 or system 2?

   20     A.        That's correct.    I summarized two -- method 1 and

   21     method 2.    At the end, method 1 and 2 did those same

   22     molecules in solution.

   23     Q.        And are you aware of Dr. Morton's opinions that it

   24     is important to have a system of a weak acid and its

   25     conjugate base in nearly equivalent amounts in a buffer
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     1    system?

     2    A.        I am.

     3    Q.        Do you agree that it's important to have equivalent

     4    amounts?

     5    A.        No, I think it depends on the system and the number

     6    of hydrogen ions and hydroxide ions produced by that system.

     7                      And the titration curve, again, shows that the

     8    maleate -- enalapril maleate/sodium hydroxide system is

     9    sufficient to maintain the pH because of curved stable

   10     ethyl.

   11     Q.        Are you familiar with Dr. Morton's discussion of

   12     buffer capacity?

   13     A.        Yes.

   14     Q.        Does it matter for your opinions under the Doctrine

   15     of Equivalents if the buffering capacity between the

   16     claimed buffer and Bionpharma's buffer is different?

   17     A.        No, I don't think it matters.      And there's nothing

   18     in the patents mentioned about buffer capacity.           The words

   19     "buffer capacity" aren't -- don't appear in the patents.

   20     Q.        Does Bionpharma's ANDA product have sufficient, a

   21     sufficient buffer to reach the required pH?

   22     A.        Yes.    It has sufficient buffer to give the required

   23     pH and it's a sufficient buffer to stabilize the enalapril

   24     because we know it lasts for 24 months in their product.

   25     Q.        Okay.    So in that context, given the sufficient
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     1    buffer for both those purposes, is buffering capacity

     2    irrelevant?

     3    A.       To me, yes, it's not relevant.       Especially since it's

     4    not mentioned in the patent in the first place.

     5    Q.       All right.    And are you aware of Dr. Morton's opinion

     6    that the claimed buffer serves a different function than

     7    that of maleic acid because they have different chemical

     8    structures?

     9    A.       Yes, I am aware of that.

   10     Q.       And what -- do you agree?

   11     A.       No, I don't agree at all because both of them have

   12     carboxylic acid groups that function in the same way as a

   13     buffer, to scatter the protons and hydroxide ions.

   14     Q.       Are there other similarities?

   15     A.       The structure, that the solubility -- I went through

   16     those on those slides, yes.        The structure, the solubility,

   17     and so on.

   18     Q.       Okay.   And are you aware of Dr. Morton's opinion

   19     that the asserted claims require a buffer component beyond

   20     whatever buffer is created by maleic acid?

   21     A.       Yes, I'm aware of those.

   22     Q.       Do you agree?

   23     A.       No.   Again, there is nothing in the patent that you

   24     need additional buffers, special buffers, et cetera, and

   25     there is nothing about buffer capacity either.
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     1                     And when you see that the buffer, that the

     2    enalapril maleate/sodium hydroxide buffer is sufficient to

     3    give a two-year stability.

     4    Q.       So when looking at the claim limitation, enalapril or

     5    a pharmaceutically acceptable salt or solvate thereof, how

     6    did you interpreted that in determining the Bionpharma

     7    buffer for your opinion?

     8    A.       It described enalapril is the active ingredient in

     9    the maleate, which dissociates from enalapril, reacts with a

   10     sodium hydroxide and makes the buffer system.

   11     Q.       Okay.    And are you aware of Dr. Morton's opinion that

   12     the function of the buffer in the asserted claim include in

   13     vivo stability?

   14     A.       Yes, I'm aware of that.

   15     Q.       First, what is in vivo stability?

   16     A.       Well, it was mentioned in some of the summaries, the

   17     introduction, and in vivo, they're talking about stability

   18     in the stomach of a patient.

   19     Q.       By introductions, do you mean the opening statements

   20     today?

   21     A.       That's correct.     Sorry.   The opening statement.

   22     Q.       All right.    I just want to make sure I understood.

   23     A.       Okay.

   24     Q.       So do you agree with Dr. Morton, that the function of

   25     the buffer requires in vivo stability?
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     1    A.       No.    Again, I don't think that is correct.       There's

     2    nothing in the patent that you have to achieve in vivo

     3    stability.      The patent, as far as I can recall, doesn't use

     4    the word in vivo.

     5    Q.       And are you aware of Dr. Morton's opinion that you

     6    have not demonstrated that with the -- that the sodium

     7    hydroxide completely reacts with the maleate portion of the

     8    enalapril?

     9    A.       Yes.

   10     Q.       To yield --

   11     A.       Yes.

   12     Q.       And what's your opinion on that?

   13     A.       As I described in the titration curve, if it didn't

   14     completely react, the pH would have gone up much higher.             So

   15     the ANDA titration curve clearly showed that it does react

   16     and dissociates and the maleate dissociates from the

   17     enalapril.

   18     Q.       Is that also just a principle of chemistry as well?

   19     A.       Exactly.    That's a principle of chemistry.

   20     Q.       And are you aware of Dr. Morton's criticism of your

   21     use of the titration curve?

   22     A.       Yes, I am.

   23     Q.       And are you aware that he criticizes it because it

   24     has a different concentration from the ANDA product?

   25     A.       Yes, I'm aware.
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     1    Q.       Does that matter for your opinion?

     2    A.       No.   Well, first, I think that Bionpharma must have

     3    thought it was significantly to put it in an ANDA.            I don't

     4    think they would have put a -- a titration curve in the ANDA

     5    if they didn't think it was relevant to their product.

     6                     And, second, the difference in concentration,

     7    the 2 X amount is -- that difference is not very significant

     8    at only these dilute solutions.        We're only at one milligram

     9    per mL later.      We're very dilute and I don't think that

   10     would make it differ.

   11     Q.       So if I'm understanding correctly, the other

   12     excipients present for that titration curve would not have

   13     had an effect on the buffering; is that correct?

   14     A.       That's correct.     It's so dilute that they're just

   15     well insulated, if I could use that term in solution from

   16     each other.

   17     Q.       Okay.    Let's go back to the slide.

   18     A.       Okay.

   19     Q.       Let's go to -- thank you -- the next slide.

   20                      So looking at PDX-257, are you aware of Dr.

   21     Morton's opinion that claim vitiation applies?

   22     A.       Yes, I understood that he made that argument.

   23     Q.       And what is your understanding of when claim

   24     vitiation applies?

   25     A.       My understanding is that it only applies if the
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     1    literal claim limitation and the accused equivalent, which

     2    is the maleate sodium hydroxide, are not interchangeable,

     3    not insubstantially different, and do not perform the same

     4    function, way, result.       And in my opinion, as I said, they

     5    are interchangeable and they do perform the same function

     6    with results.     So I don't think -- from what I understand, I

     7    don't think claim vitiation applies.

     8    Q.       And in support of this argument, did Dr. Morton raise

     9    any other different arguments for this theory than you've

   10     already covered with respect to the Doctrine of Equivalents?

   11     A.       No, not that I recall.

   12     Q.       So let's move to the next slide.

   13                     So just to wrap this up, under the Doctrine of

   14     Equivalents analysis, what's your end conclusion with

   15     respect to the buffer?

   16     A.       My end conclusion is that Bionpharma's formulation

   17     infringes the buffer limitation claim under both the

   18     function, way, result test and the substantial differences

   19     test.

   20     Q.       Thank you.    Let's go to the next slide, please.

   21                     So let's turn to the second limitation, the

   22     preservative limitation.       What did you conclude with respect

   23     to the preservative limitation?

   24     A.       I --

   25     Q.       Actually, stop.     Just remind us all, when I say
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     1    preservative limitation, what are we talking about?

     2    A.       Okay.    I think the next slide shows a preservative

     3    limitation we're talking about.

     4    Q.       Oh, other.      Can you go back one?

     5    A.       Yes.

     6    Q.       PDX-259.    Are you looking at PDX-259?

     7    A.       Yes.

     8    Q.       Okay.    Can you tell us what limitation we're talking

     9    about when I say preservative limitation?

   10     A.       Yes.    It's listed here, the preservative limitation

   11     in the claims is -- 0.7 to 1.2 milligrams per mL sodium

   12     benzoate.

   13     Q.       Thank you.

   14                      Okay.   Let's go to the next slide.     And for the

   15     preservative limitation, what is the preservative that you

   16     looked at for Bionpharma's ANDA product?

   17     A.       Yes.    So this shows a section again from the ANDA and

   18     the highlighted section, it said it contains two

   19     preservatives -- methylparaben and propylparaben and they're

   20     listed in the ingredients table as antimicrobial

   21     preservatives.

   22     Q.       And this is found at DTX-478 at BION-ESOL-231; is

   23     that right?

   24     A.       Yes.

   25     Q.       And can you please tell us the concentration of each
Case 1:18-cv-01962-LPS Document 194 Filed 03/02/21 Page 100 of 143 PageID #: 6017
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     1     of methylparaben and propylparaben?

     2     A.      So if you look on the right-hand column, the

     3     methylparaben is 1.05 and the propylparaben is 0.21.

     4     Q.      And overall, can you do the math in your head and

     5     tell us what the total is for both?

     6     A.      Yes.    So the total amount is 1.26 milligrams per mL.

     7     Q.      Thank you.

     8                    And in analyzing Doctrine of Equivalents, did

     9     you use the same two tests that you described before,

    10     function, way, result and insubstantial differences?

    11     A.      Yes.

    12     Q.      Let's go to the next slide.

    13                    And can you briefly tell us your summary of your

    14     conclusion regarding the preservative limitation for --

    15     under each of the tests?

    16     A.      Yes.    So my conclusion was that Bionpharma's

    17     preservative has the same function because it acts as a

    18     preservative.     It works in substantially the same way as

    19     it kills microbes.      It serves as an antimicrobial effect.

    20     And it has the same result.       It has insignificant microbrial

    21     fungal growth, and also insubstantial differences.           My

    22     conclusion is they're insubstantially different.

    23     Q.      Let's go to the next slide.       So first looking at the

    24     function, and specifically the function as a preservative,

    25     let's go to the next slide.
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     1                     Looking at PDX-263, which is referring to

     2     PTX-500, is this the same Handbook of Pharmaceutical

     3     Excipients that we've looked at before?

     4     A.      Yes.

     5     Q.      Okay.    And with reference to page SLVGT-EPA 104311,

     6     can you please tell us what about this reports you opinion

     7     regarding the functions being the same?

     8     A.      Yes.    This is for the claimed sodium benzoate and

     9     it's called an antimicrobial preservative.

    10     Q.      Let's go to the next slide.

    11                          And looking at PDX-264, can you -- which

    12     is citing PTX-498 that I believe we've discussed before, can

    13     you please tell us how this reference at BION-ESOL--606

    14     supports your opinion regarding the function being the

    15     same?

    16     A.      Well, this is part of Bionpharma's ANDA and it's

    17     saying methylparaben and propylparaben are preservatives.

    18     So it's saying they're the same.        That they are the same

    19     function, preservative.

    20     Q.      Okay.    Let's go to the next slide.

    21                     And looking at PDX-265, which is citing PTX-498

    22     at BION-ESOL--663, can you tell us how this supports your

    23     conclusion regarding the function being the same?

    24     A.      Yes.    This is another statement from the Bionpharma

    25     ANDA and it says the data indicates the preservative system
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     1     is effective for the product.

     2     Q.      Okay.    And let's go to the next slide.

     3                     So we talked about function.     Let's talk about

     4     the way.    Remind us the way in which both preservatives

     5     function the same.

     6     A.      Yes.    They kill the microbes.      They exert

     7     antimicrobial effect.

     8     Q.      Let's go to the next slide.

     9                     So looking at PDX-267, again, is this the same

    10     Handbook of Pharmaceutical Excipients we've been looking at

    11     earlier at PTX-500?

    12     A.      Yes.

    13     Q.      And please tell us how the entry of LVGT-EPA 104311

    14     supports your opinion?

    15     A.      Yes.    It's saying sodium benzoate has both bacterial,

    16     static and antifungal properties.        This is a claimed -- this

    17     is a claimed preservative.

    18     Q.      Okay.    What about the pH?

    19     A.      The pH, it says it works best in acidic solutions at

    20     pH 2 to 5, and course we're at 3 to 3.5.

    21     Q.      Okay.    So turning to the preservative in Bionpharma's

    22     ANDA product, in what way do the methylparaben and

    23     propylparaben function as a preservative?

    24     A.      Yes.    They function the same way.      They're

    25     bacteriostatic or they kill the bacteria or they're fungal
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     1     or their fungistatic.

     2     Q.      Let's go to the next slide.

     3                   So looking at PDX-268, which is citing PTX-478,

     4     I believe we looked at 478 before, so let's -- focusing at

     5     the specific page by I don't know ESOL-258, can you tell us

     6     how what we're looking at supports your opinion that the way

     7     is the same in which both preservatives function?

     8     A.      So this slide just shows, again, that the pH is in

     9     the 3.2 to 3.6 range where they work as bacteriostatic or

    10     antimicrobial or fungistatic.

    11     Q.      And does this mean that the -- that the

    12     antimicrobial, that the preservatives are going to have

    13     antimicrobial effectiveness in the pH range?

    14     A.      That's correct.

    15     Q.      How do you know that?

    16     A.      Well, it's stated here and -- pardon me, it's stated

    17     in the previous slide in the Handbook of Excipients, and

    18     also for the parabens, it stated that.

    19     Q.      I guess if I'm understanding correctly, does it mean

    20     that because this document tells us that the generic

    21     formulation will be controlled in the pH to be between 3.2

    22     and 3.6, that the preservative is doing its job?

    23     A.      That's correct.

    24                   MR. ALUL:    Your Honor, these are leading

    25     questions.
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     1                    THE COURT:    That one was leading.     It's a little

     2     hard with technology to object to leading, but you are

     3     welcome to try.

     4                    Try to avoid the leading questions.

     5                    MR. ALUL:    Thank you, Your Honor.

     6                    MS. MORGAN:   I will, Your Honor.

     7     BY MS. MORGAN:

     8     Q.      Turning to the next slide.       So we've talked about

     9     function, we've talked about way.        Let's move on to results.

    10                    Can you remind us of the results that

    11     Bionpharma's preservative and the claimed preservative

    12     achieved that's the same in your opinion?

    13     A.      Yes.   So Bionpharma's preservative results in

    14     insignificant microbial and fungal growth.

    15     Q.      Turning to the next slide, please.

    16                    So looking at PDX-270, which is citing PTX-498

    17     at BION-ESOL--589, what are we looking at here?

    18     A.      This is a study of the brand enalapril solution

    19     carried out by Bionpharma, and they are simply showing that

    20     the benzoic acid, sodium benzoate in the Bionpharma product

    21     was .83 milligrams per mL.       They are indicating it's about

    22     one milligram per mL.

    23     Q.      And is this -- if you look at the top with the brand,

    24     is that referring to Epaned?

    25     A.      That's correct.
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     1     Q.        Okay.    And so this is Bionpharma's study of Epaned?

     2     A.        That's correct.

     3     Q.        Is that right?

     4     A.        That's right.

     5     Q.        I just want to make sure I understood.       And so

     6     turning to the Bionpharma ANDA product, let's go to the next

     7     slide at PDX-271, which is citing PTX-480 -- oh, I'm sorry.

     8     This is -- let me start over.

     9                       Sticking with the Epaned product at PDX-271 at

    10     PTX-480 SLVGT-EPA 3225, first, can you please look at

    11     PTX-480 and tell us what that is?         And can you put the first

    12     page of PTX-480 up on the screen?

    13     A.        '480 is a stability study, part of the ANDA.

    14                       Oh, sorry.    It's the new -- it's the Silvergate

    15     new drug application, Silvergate NDA, where their studying

    16     expands microbial and fungal properties.

    17     Q.        Thank you.

    18                       MS. MORGAN:   And can we go back to the slides,

    19     please.

    20     BY MS. MORGAN:

    21     Q.        And so continuing on with PTX-480.       Can you please

    22     tell us what we're looking at, at Table 2.3.P.8-4?

    23     A.        Sure.    So these tables, you want the lowest number

    24     you can.

    25                       So it's saying total aerobic microbial count is
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     1     not more than 100 CFUs.

     2                    The yeast and the mold are not more than 10

     3     CFUs.

     4                    E. coli is absent and antimicrobial testing

     5     conformed.

     6                    And these were all done by the United States

     7     Pharmacopeia methods.

     8                    So this is showing the properties of the legend

     9     drug, that ANDA sodium benzoate preservative.

    10     Q.      Do these tests show whether there is antimicrobial

    11     effectiveness?

    12     A.      Yes.   They show very clearly when it's not -- when

    13     it's meeting these USP specs, it is showing that they are

    14     antimicrobial and antifungal also.

    15                    MS. MORGAN:   Okay.    Let's go to PDX-272.

    16     BY MS. MORGAN:

    17     Q.      So now looking at Bionpharma's ANDA product, I think

    18     we've looked at PTX-498 many times today.

    19                    Can you please tell us what we're looking at

    20     here at BION-ESOL-668.

    21     A.      Here, Bionpharma is showing that their product meets

    22     the USP 51 for a Category 3 requirement.         So it meets the

    23     same antimicrobial effectiveness requirement.

    24     Q.      And are you referring to the line that's highlighted

    25     and the row below it titled "Microbial Enumeration and
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     1     Tests"?

     2     A.        Yes.    I'm referring to both the highlighted and the

     3     row below.       All of them are showing that Bionpharma's

     4     product meets the USP requirements.

     5     Q.        Are those the same USP requirements we looked at with

     6     respect to the Epaned product?

     7     A.        Yes, they are.    51, 61, and 62.

     8     Q.        So overall --

     9                      MS. MORGAN:   Let's go to the next slide.

    10     BY MS. MORGAN:

    11     Q.        -- what do the documents show us with respect to

    12     result?

    13     A.        That Bionpharma's preservatives have the same

    14     function, to act as preservative.

    15                      And they function in the same way, to exert

    16     antimicrobial or antifungal effects at a pH of less than

    17     3.5.

    18                      And they have the same result, which is

    19     insignificant microbial and fungal growth.

    20                      MS. MORGAN:   Okay.   Let's go to the next slide,

    21     PDX-274.

    22     BY MS. MORGAN:

    23     Q.        What was your conclusion regarding whether there are

    24     any insubstantial differences between the two preservatives?

    25     A.        Yes.    My analysis, there are two points of my
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     1     analysis.

     2                    Methylparaben and propylparaben function in the

     3     same way as sodium benzoate by inhibiting microbial growth.

     4                    And, two, that sodium benzoate is structurally

     5     very similar to methylparaben and propylparaben.

     6                    MS. MORGAN:   Let's go to the next slide.

     7     BY MS. MORGAN:

     8     Q.      Looking at PDX-275.      Can you please explain what

     9     we're looking at here?

    10     A.      Yes, these show the three structures of sodium

    11     benzoate, methylparaben, and propylparaben.          And you can

    12     see all three of them are insubstantially different in

    13     structure.     They all have that ring system with the COO on

    14     it, with slightly different side chains.

    15                    MS. MORGAN:   Okay.    Let's go to the next slide.

    16                    Actually, let's -- take it to black, please.

    17     BY MS. MORGAN:

    18     Q.      So are you familiar with Bionpharma's expert,

    19     Dr. Morton's, arguments against the applicability of the

    20     Doctrine of Equivalents with respect to the preservative?

    21     A.      Yes.

    22     Q.      So what is your response to his opinion that

    23     methylparaben and propylparaben are substantially different

    24     in structure to sodium benzoate?

    25     A.      Yeah, I don't agree with that.        I think they have
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     1     similar structures.      They do have different side chains,

     2     but the -- most of the compound structure is similar.

     3     Q.      And what is your response to Dr. Morton's opinion

     4     that sodium benzoate is substantially different from paraben

     5     because sodium benzoate is bacteriostatic and fungistatic

     6     only under acidic conditions?

     7     A.      Well, since the, the pH of the system is acidic, I

     8     think that it is most relevant just to look at the

     9     conditions of the formulation.        And there, they have the

    10     same function-way result.

    11     Q.      And what is your response to Dr. Morton's arguments

    12     that the methylparaben/propylparaben combination in

    13     Bionpharma's formulation does not function in the same way

    14     as sodium benzoate in the claimed formulation because they

    15     have different mechanisms of action?

    16     A.      Yes.   I don't think that's -- I don't agree with

    17     that.   I don't think that's relevant.        The patent doesn't

    18     describe the mechanism of action of the various

    19     preservatives.

    20                    And I don't think a person of skill is that

    21     concerned with the mechanism of action as long as they act

    22     as a preservative and are effective.

    23                    MS. MORGAN:   Can you please put the slides back

    24     up.

    25     BY MS. MORGAN:
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     1     Q.        And looking at PDX-276, which cites to PTX-498,

     2     BION-ESOL-669, and PTX-480, SLVGT-EPA-3225, which I believe

     3     we looked at earlier.

     4                      Can you please tell us what these tables show in

     5     response to Dr. Morton's as opinions?

     6     A.        So here is a comparison.     I color coded the

     7     comparison of the results of the two preservatives.

     8                      And in the orange is the total aerobic microbial

     9     counts.    We can see that is similar.

    10                      The next is the yeast and molds, and that is

    11     similar.

    12                      And the E. coli.

    13                      And, finally, the light blue, antimicrobial

    14     effectiveness.

    15                      So these are insubstantially different, these

    16     two, two preservative systems.

    17     Q.        And is this what you are referring to when you said

    18     the effect is the same?

    19     A.        That's correct.

    20     Q.        So are there other ways to preserve things other than

    21     by killing bacteria?

    22     A.        Yes.   You could, for example, do freezing.       You could

    23     use freezing to preserve a product.        That would certainly

    24     work.

    25     Q.        And does freezing a product as a method of killing
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     1     bacteria, is that a substantially different way than using,

     2     for example, the claimed preservative?

     3     A.      That's correct.     That is a substantially different

     4     way.

     5     Q.      And why is that a substantially different way?

     6     A.      Well, freezing just makes the whole system so cold

     7     that the bacterium and the fungi can't grow.          So it's

     8     working by almost a nonchemical method.         It is more just

     9     temperature.

    10     Q.      So Dr. Morton picks out some physical differences:

    11                    Antimicrobial activity.

    12                    Lipofillicity as a paraben that increases with

    13     alkyl moiety chain lengths.

    14                    Differences in solubility.

    15                    Do those differences matter for your opinions?

    16     A.      No.    As I said, those are not -- a person of skill is

    17     just interested in a preservative effect, and those are way

    18     too granular for determining the function-way-result of just

    19     those preservatives.

    20     Q.      So -- and what is your position -- what is your

    21     response to Dr. Morton's position that methylparaben and

    22     propylparaben have substantially different antimicrobial

    23     properties to sodium benzoate?

    24     A.      Again, that's -- from this table, it looks like

    25     they're quite similar.      And, typically, you are just looking
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     1     for a material that will meet the USP requirements, and so I

     2     can't agree with that analysis.

     3     Q.      Did Dr. Morton identify that enalapril is any more

     4     susceptible to fungus such that that kind of a distinction

     5     is important here?

     6     A.      No, he didn't.

     7     Q.      So did Dr. Morton's arguments impact your opinions

     8     one way or the other regarding infringement under the

     9     Doctrine of Equivalents?

    10     A.      No.    I still believe that there is infringement under

    11     the Doctrine of Equivalents.

    12                    MS. MORGAN:   Let's go to the next slide.

    13     BY THE WITNESS:

    14     A.      The function-way-result and the insubstantial

    15     differences.

    16                    MS. MORGAN:   Okay.    So looking at PDX-277, which

    17     is referring to PTX-478 at BION-ESOL-231 that we've looked

    18     at many times.

    19     BY MS. MORGAN:

    20     Q.      I want to talk now about the amount of the

    21     preservative.

    22                    Can you remind us again what is the total amount

    23     of the preservative?

    24     A.      Yes.    The total amount is 1.26 milligrams per mL

    25     preservative for the parabens.
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     1     Q.      Okay.    And when you consider the amount of the

     2     preservative that is claimed, and you can also consider, in

     3     comparison, to the amount of Bionpharma's preservative, what

     4     is your opinion regarding whether the amount of -- let me

     5     rephrase -- whether the amount of the claimed preservative

     6     and the amount of Bionpharma's preservative is equivalent

     7     under the Doctrine of Equivalents?

     8     A.      I think they're equivalent under the Doctrine of

     9     Equivalents.    There is insubstantial differences.

    10     Q.      And considering the function of sodium benzoate

    11     in the claims, does the amount of methylparaben and

    12     propylparaben in Bionpharma's ANDA still perform that same

    13     function?

    14     A.      Exactly.    Yes.   In my opinion, yes.

    15     Q.      Okay.    So are you familiar with Dr. Morton's

    16     assertion that the preservatives are not equivalent because

    17     methylparaben and propylparaben are used in combination at

    18     certain concentrations whereas sodium benzoate is used alone

    19     at a certain concentration?

    20     A.      Yes.

    21     Q.      Do you agree with that?

    22     A.      No.

    23     Q.      Why not?

    24     A.      Well, because, again, the person of skill is

    25     searching for a preservative that will prevent bacteria
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     1     and fungi from contaminating the products, and the exact

     2     preservatives can meet that under the Doctrine of

     3     Equivalents means two preservatives meet that goal.

     4     Q.      And what is the end --

     5                     MS. MORGAN:   Go to the next slide, please.

     6     BY MS. MORGAN:

     7     Q.      So just in total, what is your end conclusion

     8     regarding infringement under the Doctrine of Equivalents

     9     about the preservative?

    10     A.      So that Bionpharma's preservative meets -- is

    11     equivalent to the claimed preservative under the

    12     function-way-result and the insubstantial differences test.

    13     Q.      Okay.    Let's turn now to the doctrine of -- strike

    14     that.

    15                     Let's turn now to Dr. Morton's assertions

    16     regarding prosecution history estoppel.

    17                     Are you aware that Dr. Morton has argued that

    18     Silvergate is precluded from arguing infringement under the

    19     Doctrine of Equivalents?

    20     A.      Yes.

    21     Q.      Did you form your own opinions regarding prosecution

    22     history estoppel and disclosure dedication?

    23     A.      Yes, I did.

    24     Q.      What is your opinion?

    25     A.      That Silvergate is not precluded from asserting
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     1     Doctrine of Equivalents by those principles, by those legal

     2     argument.

     3                     MS. MORGAN:   Okay.   Let's go to the next slide.

     4     BY MS. MORGAN:

     5     Q.      What are we looking at here at PTX-279?

     6     A.      This is a timeline of the prosecution history of the

     7     '008 patent.

     8                     And I mentioned earlier, the '008 patent

     9     prosecution history basically serves as a prosecution

    10     history for all four patents.

    11     Q.      And it's referring to PTX-5?

    12     A.      That's correct.

    13     Q.      Okay.    So walking through the timeline, after the

    14     applicants filed the application on March 25th, 2016, what

    15     happened next?

    16     A.      There was a pre-interview communication and an

    17     Examiner interview.

    18     Q.      And then what happened after the interview -- in the

    19     interview?

    20     A.      There were -- the Examiner communicated to the -- to

    21     Silvergate the opinions on the patent.

    22     Q.      Are you referring to -- are we on January 17th, 2017?

    23     A.      No, I am on September 2nd and October 14th.          I think

    24     the next slide.

    25     Q.      Okay.    Sorry.   Let me rephrase my question.
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     1                    MS. MORGAN:   Let me go back.     Sorry.    My

     2     mistake.

     3     BY MS. MORGAN:

     4     Q.       After the application was filed, I think you

     5     mentioned there is the pre-interview communication.             What

     6     was after the pre-interview communication?

     7     A.       Then the Examiner issued some statements that are on

     8     the next slide.

     9                    MS. MORGAN:   Okay.    So let's go to the next

    10     slide.

    11     BY MS. MORGAN:

    12     Q.       PDX-280 cites PTX-5 at SLVGT-EPA-818.

    13                    Can you please explain what we're looking at

    14     here?

    15     A.       So here, the Examiner rejected all claims as obvious,

    16     and the Examiner suggested presenting evidence demonstrating

    17     criticality of the amounts of ingredients, such as evidence

    18     demonstrating that the prior art composition does not have

    19     the same long-term stability as the instantly claimed

    20     composition.

    21                    MS. MORGAN:   Let's go to the next slide.

    22     BY MS. MORGAN:

    23     Q.       And turning back to the timeline, looking at PDX-281.

    24                    After the pre-interview communication, what

    25     happened next?
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     1     A.      So then there was an interview with the Examiner, and

     2     Office Action was filed.

     3                     MS. MORGAN:   Okay.   And let's look at what

     4     happened in the Office Action.        Let's go to PDX-282.

     5                     So it is citing SLVGT-EPA-837.

     6     BY MS. MORGAN:

     7     Q.      What happened in the Office Action?

     8     A.      The Examiner rejected all claims as obvious under the

     9     same prior art.

    10                     And they also rejected all claims as indefinite

    11     because of the term "stable."

    12                     And the Examiner further stated the inventive

    13     example requires sodium citrate dihydrate and is not

    14     representative of the broadest claim composition.

    15                     MS. MORGAN:   Let's go to the next slide.

    16     BY MS. MORGAN:

    17     Q.      So looking at PDX-283, what was the next thing that

    18     happened after the Office Action?

    19     A.      So then the applicant responded to the Office Action

    20     with an amendment in an inventor declaration.

    21     Q.      Okay.    Let's look at the next slide.

    22                     So looking at PDX-284, what are we looking at

    23     here?   And it's citing SLVGT-EPA 858.

    24     A.      So this is the amendment related to stability, and

    25     the applicant argued that this stability amendment overcame
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     1     the indefiniteness rejection.       And the underlying portions

     2     are the amendment to claim 1.       They added a stable and then

     3     they added that whole phrase below, wherein the stable or a

     4     liquid formulation was about 95 percent or greater of the

     5     initial amount enalapril in five percent or less total

     6     impurity at the end of the storage period.          I showed that

     7     the table, for example, showing some data like that.

     8     Q.      Let's go to the next slide.

     9     A.      And --

    10     Q.      Sorry?

    11     A.      Go ahead.    Sorry.    I apologize.

    12     Q.      Looking at PDX-285, which is citing PTX-5 at SLVGT

    13     EPA 863 to 873, can you please tell us what we're looking at

    14     here?

    15     A.      Here, the applicant is responding to the obviousness

    16     objection, and the applicant argued that the prior art did

    17     not disclose the stability of the claim, and there was no

    18     motivation or guidance to arrive at the claim.

    19                          And then they explained that further.

    20     They said the Nahata '747, and it's highlighted, do not

    21     disclose or suggest liquid formulations of enalapril having

    22     this stability.     They said specifically, the Office has not

    23     set forth a prima facie case for obviousness.          And then they

    24     said, further, no guidance whatsoever is given to keep or

    25     eliminate components.
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     1     Q.      Let's go to the next slide.       Looking at PDX-286,

     2     which is citing PTX-SLGVT-EPA 863 to 873, what are we

     3     looking at here?

     4     A.      So this is part of the declaration and it shows some

     5     stability studies.      On the Y axis is initial content at

     6     100 percent.     You can see it's about in the middle, and then

     7     on the X axis are days going out to 600 days, and you can

     8     see the dark diamonds for formulating E7.          That's a very

     9     stable formulation related to the final formulation.           And

    10     you can see it's very stable, going down only from like 102

    11     to 91, 99 in 600 days.      So it's very stable.

    12                     And then it's showing all of those grayed

    13     formulations.     Those are various prior art formulations and

    14     you can see they dropped from 99 to 94 in less than

    15     200 days, and some of those have citrate buffer such as

    16     the diamond, the triangle.       Nahata's citrate buffer, it's

    17     very unstable, and others down below a line where it says

    18     Nahata's citrate buffer of pH 5, it's very unstable.           So

    19     those prior art formulations are unstable.

    20     Q.      Okay.    Let's look at the next slide.       Actually, let's

    21     go one more slide.

    22                     So looking at PDX-288 at PTX-5 at SLVGT-EPA 858

    23     to 60, can you tell us what we're looking at here?

    24     A.      So this is more on the obviousness rejection.          This

    25     is showing another one of the amendments and what happened
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     1     here is there was a claim 20 on the right-hand panel.            It

     2     already had the and about .15 milligrams per mL sodium

     3     citrate dihydrate.       It already had that phrase in it.       They

     4     just copied that and put that in claim 1, and claim 20 had

     5     been rejected for obviousness.

     6     Q.        Okay.    And let's go back one slide.      And looking at

     7     PDX-287, which is at PTX-5 SLVGT EPA 837, is this part of

     8     the obviousness rejection you were referring to?

     9     A.        Yes, and it's related to that slide that I already

    10     showed.    The Examiner said, buffers such as citric acid and

    11     sodium citrate were well-known at the time of the invention.

    12     So the Examiner also said that sodium citrate was well-known

    13     and couldn't -- of course, a conclusion is it couldn't be

    14     used to overcome obviousness.

    15     Q.        So I guess the next question, the answer to the next

    16     question is probably obvious then.         Did the applicants

    17     make an argument then that the addition of sodium citrate

    18     dihydrate to the claim overcame the obviousness rejection?

    19                       MR. ALUL:    Objection, Your Honor.   Objection,

    20     Your Honor.       We're getting into the realm of leading

    21     questions again.

    22                       THE COURT:    Ms. Morgan, let's try not to be

    23     leading, please.

    24                       MS. MORGAN:   Sorry, Your Honor.    He basically

    25     answered my question before I got to ask it.
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     1                      THE COURT:    Ask it again.

     2                      MS. MORGAN:    I'm happy to ask it again.

     3     BY MS. MORGAN:

     4     Q.        Did the applicant make any argument that the

     5     addition of the sodium citrate dihydrate overcame the

     6     obviousness objection?

     7     A.        No.

     8                      MR. ALUL:    Objection.

     9                      THE COURT:    I'm going to overrule it.    Go ahead

    10     and answer, Doctor, if you can.

    11                      THE WITNESS:   Sorry about that, Your Honor.      No,

    12     they never made any such claim or statement.

    13                      MS. MORGAN:    And can we have the next two

    14     slides?

    15     BY MS. MORGAN:

    16     Q.        And looking at PDX-289, can you tell us what happened

    17     then after the applicant's response to the office action?

    18     A.        So there was another Examiner interviewed and then

    19     the applicant filed a supplemental amendment following the

    20     Examiner's suggestion.

    21     Q.        And did anything come of the interview?

    22     A.        Yes.   Well, ultimately, the claims were loud.

    23     Q.        Well, let's look at the next slide.       Looking at

    24     PDX-290, which is citing PTX-SLVGT-EPA 944, can you tell us

    25     what is happening here?
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     1     A.      So here, the applicant is summarizing what they

     2     thought happened at the interview and they say it is the

     3     applicant's understanding that the Examiners appreciated the

     4     superior stability provided by the components and pH as

     5     recited in the claims.      Further, the applicant's

     6     understanding that Examiner Lundgren suggested moving the

     7     sweetener, sucralose, from the independent claims to the

     8     dependent claims.

     9     Q.      And did the applicant follow the Examiner's

    10     suggestion?

    11     A.      Yes, they did.

    12     Q.      Let's go to the next slide.       So what happened next?

    13     A.      And then the claims were loud.

    14     Q.      And the patent issued?

    15     A.      That's correct.

    16     Q.      Let's continue on.

    17                   Was there anything in these prosecution

    18     histories -- actually, let me take a step back.

    19                   Did you look at the prosecution histories of the

    20     three other patents that we referred to very early in your

    21     testimony, prosecution histories for the '442 -- well, the

    22     other three patents, PTX-6, PTX-7 and PTX-8?

    23     A.      Yes, I did.

    24     Q.      And was there anything in those prosecution histories

    25     that was important for your opinion or for responding to Dr.
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     1     Morton?

     2     A.        No.   That's what I was saying earlier, that the basic

     3     or the key prosecution history is the '008.          Any other ones

     4     didn't really change my opinion or have an effect on my

     5     opinion.

     6     Q.        Okay.    Let's go to the next slide.

     7                       So looking at PDX-292 now, so now we'll discuss

     8     the prosecution histories.       Let's take a closer look at Dr.

     9     Morton's assertion.

    10                       What's your understanding of what argument based

    11     estoppel requires?

    12     A.        So my understanding is that for the argument-based

    13     estoppel applied to the equivalents, the Doctrine of

    14     Equivalents, there has to be a clear and unambiguous

    15     disavowal of claim scope.

    16     Q.        And do you believe that has occurred here?

    17     A.        No.

    18     Q.        Let's go to the next slide.

    19                       So can you summarize -- summarize for us --

    20     we're on PDX-293 for the record.        Can you summarize for us

    21     what was the applicant's arguments regarding the prior art

    22     as a whole if you read the arguments in context?

    23     A.        So as a whole, the applicant argued that the Examiner

    24     had a flawed obviousness analysis and the applicant argued

    25     that none of the prior art teaches the claimed stability.            I
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     1     showed some slides on that.       And that the prior art does not

     2     provide any reason or guidance as to how to arrive at the

     3     claimed invention.      And also the prior art provides no

     4     reasonable expectation of success.

     5     Q.      Let's turn to the next slide.        We're on PDX-294.

     6                   So let's take a look at some of the applicant's

     7     arguments.    Are you aware that Dr. Morton asserts that this

     8     recitation of ingredients here, looking at the second box,

     9     PTX-5 at SLVGT-EPA 874, which refers to enalapril citric

    10     acid, sodium citrate, sodium benzoate, sucralose and water

    11     creates a disavowal of claim scope?

    12     A.      Yes, I'm aware of that, but I don't agree with it.

    13     Q.      And why not?

    14     A.      Well, I think the applicant just argued that there

    15     was no guidance to keep or eliminate components and no

    16     expectation of success.

    17                          The applicant argued in one session, the

    18     top box, that the cited references did not provide any

    19     reason to single out the specific components.

    20                          And then in the lower box, the applicant

    21     argued, the prior art does not provide any expectation that

    22     any particular combination would be successful or as stable

    23     or a liquid formulation much less the expectation that the

    24     combination of the components you just mentioned at a pH of

    25     less than 3.5 would be successful in forming a stable
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     1     enalapril liquid formulation.       So the applicant is just

     2     arguing that there was no guidance to keep or eliminate

     3     components.

     4     Q.        Let's go to the next slide.

     5                      Looking at PDX-295 is another example.      Are you

     6     aware that Dr. Morton asserts that statements like this

     7     created disavowal of claim scope because the applicant

     8     contrasted the components of the prior art to the claimed

     9     formulation?

    10     A.        Yes.

    11     Q.        Do you agree that this disavows claim scope?

    12     A.        No.    This section, this statement, is in an overall

    13     section, I put it above in bold, that says that there is no

    14     reasonable expectation of success for the claimed subject

    15     matter.

    16                      So the applicant's simply arguing that there is

    17     no reasonable expectation of success.         And they say, as

    18     apparent that extemporaneously prepared formulation from

    19     Nahata has 19 components and another one at '747 has 10

    20     components.

    21                      And then they just go on to say there is no

    22     reasonable expectation of success for these components,

    23     knowing which components to put in the formulation.

    24                      MS. MORGAN:   Let's go to the next slide.

    25                      So looking at PDX-296, which is citing PTX-5 at
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     1     SLVGT-EPA-887 and SLVGT-EPA-882.

     2     BY MS. MORGAN:

     3     Q.      Are you aware of Dr. Morton's arguments that there is

     4     a disavowal of claim scope because the inventor, Dr. Mosher,

     5     submitted a declaration saying that the claimed formulation

     6     had superior stability to prior art?

     7     A.      Yes.    So they're just -- in my opinion, the inventor

     8     is simply focusing on the superior ability of the

     9     formulation.    He just states in the top box, "This stability

    10     is an important aspect of the formulation."          And then in the

    11     bottom box, "that it's significantly more stable."           And he

    12     is talking about the E7 formulation that I was talking about

    13     in the graph.

    14     Q.      Do you believe that the statements such as this

    15     creates a disavowal of claim scope?

    16     A.      No, it's not -- no, it's not disavowing any specific

    17     claim scope.

    18                    MS. MORGAN:   Let's go to the next slide.

    19                    So looking at -- we're on PDX-297.

    20     BY MS. MORGAN:

    21     Q.      So in your opinion, is Dr. Morton taking portions of

    22     the applicant's statement out of context?

    23     A.      Yes, that's my opinion.

    24     Q.      What is the proper context for the quotes that

    25     Dr. Morton is pulling out of the prosecution history?
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     1     A.      So the applicant -- the context is that the applicant

     2     is arguing that the Examiner had a flawed obviousness

     3     analysis.

     4                   That none of the prior art teaches the claimed

     5     stability.

     6                   That's one of their additional arguments.

     7                   That the prior art doesn't provide any reason or

     8     guidance to arrive at the claimed invention.

     9                   And there is no reasonable expectation of

    10     success.

    11                   MS. MORGAN:    Okay.    Let's move on to

    12     amendment-based estoppel.

    13                   Let's go to the next slide.

    14     BY MS. MORGAN:

    15     Q.      So what is your understanding of the standard for

    16     amendment-based estoppel.

    17     A.      So there's the three bullets.

    18                   It requires an applicant to narrow the scope of

    19     the claim by amending during prosecution.

    20                   It must be related to patentability.

    21                   And it doesn't apply if the equivalent, which is

    22     the maleate proper, is tangentially related to the reasons

    23     for amending.

    24                   MS. MORGAN:    Let's go to the next slide.

    25     BY MS. MORGAN:
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     1     Q.      So do you believe that amendment-based estoppel

     2     should apply here?

     3     A.      No, I don't believe it should apply first because the

     4     amendment between the two equivalent buffer systems does not

     5     really narrow the claim.

     6                   They're equivalent buffers.

     7                   The amendment was not made for patentability

     8     reasons.

     9                   And the equivalent, the maleate buffer, is

    10     tangential to the reasons for amending.

    11                   MS. MORGAN:    Let's go to the next slide.

    12     BY MS. MORGAN:

    13     Q.      So first --

    14                   MS. MORGAN:    Let's go to the next slide,

    15     actually.

    16     BY MS. MORGAN:

    17     Q.      Can you please explain for us --

    18                   MS. MORGAN:    And for the record, we're on

    19     PDX-301.

    20     BY MS. MORGAN:

    21     Q.      Can you please explain for us why you believe that

    22     the addition of sodium citrate dehydrate was not a narrowing

    23     amendment?

    24     A.      You have to consider the context of the addition.

    25     And the citric, as I'm saying in the second bullet, you
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     1     have citric acid already and then you add sodium citrate.

     2     Well, once it is in solution, it's going to equilibrate to

     3     a citric acid and conjugate-based molecules, just like

     4     citric acid itself.      And so when you adjust the pH, you're

     5     going to get the same molecules, the same buffer with

     6     either system.

     7                    So it's not really a narrowing amendment, it's

     8     more they're very minor differences between the two buffer

     9     system.

    10                    MS. MORGAN:   So now let's turn to the next

    11     slide, please.

    12                    For the record, we're at PDX-302.

    13     BY MS. MORGAN:

    14     Q.        So can you please explain why in your opinion the

    15     amendment was not made for purposes of patentability?

    16     A.        So as shown here, the amendment came -- the amendment

    17     in claim 1, which adds sodium citrate dihydrate, came from

    18     claim 20.

    19                    And claim 20 was already rejected for

    20     obviousness.    So it doesn't -- I don't see how, if you

    21     rejected a claim for obviousness that has this phrase, that

    22     when you put this phrase in claim 1, it is going to somehow

    23     make it not obvious.

    24                    It's, it's -- it doesn't look like that

    25     amendment was added to overcome obviousness.
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     1     Q.       And is there another reason for the addition of

     2     sodium citrate dihydrate?

     3     A.       Yes.   It looks to me more like the applicant was

     4     trying to tidy up the claims or get the claims to be more --

     5     the various claims to be more consistent with each other.

     6                     MS. MORGAN:   Let's advance two slides.

     7                     So looking at PDX-304.

     8     BY MS. MORGAN:

     9     Q.       Are you aware of Dr. Morton's assertion that the

    10     amendment was related to patentability because the

    11     applicants intended to overcome the Examiner's obviousness

    12     rejection by comparing E5 in the patent to Nahata?

    13     A.       Yes, I'm aware of that.

    14     Q.       Do you agree?

    15     A.       No, I don't agree as I'm saying here.        The amendment

    16     was never mentioned in an argument, and it ignores the

    17     applicant's stability arguments that were successful.

    18                     MS. MORGAN:   Okay.   Let's go on to the next

    19     slide.

    20     BY MS. MORGAN:

    21     Q.       Let's turn now to the tangential relationship.          Can

    22     you please explain --

    23                     MS. MORGAN:   Actually, let's go to the next

    24     slide.

    25     BY MS. MORGAN:
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     1     Q.       Can you please explain the basis for your conclusion

     2     that the amendment bears no more than a tangential

     3     relationship to the accused equivalent?

     4     A.       Yes.   So first, again, claim 20 with the sodium

     5     citrate argument was rejected as obvious.

     6                     So that's my first consideration.

     7                     Second, the context of the amendment, the

     8     arguments stress superior stability of the claimed

     9     invention.

    10                     And finally, the applicant rebutted the

    11     obviousness analysis by presenting that obvious- -- argument

    12     that obviousness did not apply.

    13                     MS. MORGAN:   All right.    Let's go to the next

    14     slide.

    15     BY MS. MORGAN:

    16     Q.       Are you aware of Dr. Morton's opinion that the

    17     applicant admitted supposedly that enalapril formulations

    18     without sodium citrate are obvious by arguing that there

    19     were limited excipients in the claims?

    20     A.       I am, yes.

    21     Q.       And do you agree with that?

    22     A.       No, and --

    23     Q.       Why not?

    24     A.       -- as I state here, the applicant never asserted

    25     sodium citrate was critical.
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     1                     The applicant's obviousness arguments were that

     2     the Examiner's theory was flawed and there was no prima

     3     facie evidence.

     4                     And the applicant's obviousness arguments never

     5     referred to the sodium citrate amendment.

     6     Q.      And are you aware of Dr. Morton's opinion that

     7     Bionpharma's admission of citric acid and sodium citrate

     8     from its formulations makes the amendment not tangential?

     9     A.      Yes.

    10     Q.      Do you agree?

    11     A.      No, I don't agree with that either.

    12     Q.      Why?

    13     A.      For these same reasons.

    14     Q.      Okay.    And in your opinion, are any of Dr. Morton's

    15     arguments regarding tangential relationship applicable?

    16     A.      No, they're not.      Not at all.

    17                     MS. MORGAN:   Okay.   Let's go to the next slide.

    18     BY MS. MORGAN:

    19     Q.      So last, disclosure dedication.        What is your

    20     understanding of when this applies?

    21     A.      So this applies if the patentee disclosed an element

    22     as an alternative to the relevant limitation but did not

    23     claim that, that alternative.

    24     Q.      And in your opinion, does that apply here?

    25     A.      No.
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     1                     MS. MORGAN:   Let's go to the next slide.

     2     BY MS. MORGAN:

     3     Q.      Are we talking about the preservative limitation with

     4     respect to disclosure dedication?

     5     A.      Yes.

     6     Q.      Okay.    And are you aware of Dr. Morton's arguments --

     7     actually, strike that.

     8                     Are you aware of Dr. Morton's argument that the

     9     applicant clearly and ambiguously describes the mixture of

    10     methylparaben and propylparaben such that there is a

    11     specific disclosure as an alternative to sodium benzoate?

    12     A.      Yes.

    13     Q.      Do you agree?

    14     A.      No, I don't.     There is no specific disclosure.

    15                     MS. MORGAN:   Let's go to the next slide.

    16     BY MS. MORGAN:

    17     Q.      Looking at PDX-310, which is referring to PTX at --

    18     PTX-1 at Column 10, lines 11 to 29.

    19                     What are we looking at?

    20     A.      This is the part of the specification from the

    21     common -- of all four patents.        And this is the -- this

    22     is a laundry list of preservatives that include all

    23     kinds of molecules in them.       It includes a large number

    24     of molecules.

    25     Q.      And is there anything in this list that discloses
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     1     the combination of methylparaben and propylparaben as an

     2     alternative to sodium benzoate?

     3     A.      No, there is nothing disclosing the combination of

     4     methylparaben and propylparaben.

     5     Q.      And is there anything disclosing that combination

     6     as an alternative specifically to sodium benzoate?

     7     A.      Nothing at all.       It's just a list of preservatives.

     8                     MS. MORGAN:    Let's go to the next slide.

     9     BY MS. MORGAN:

    10     Q.      Are you aware that Dr. Morton refers to some tables

    11     in the patent for his assertion regarding disclosure

    12     dedication?

    13     A.      Yes.

    14     Q.      And in your opinion, do the tables support that there

    15     has been any disclosure dedication?

    16     A.      No, I don't think they provide support to that.

    17     Q.      Okay.    So please explain for me why, for example,

    18     specifically with Table A-1 first --

    19                     MS. MORGAN:    And sorry.   For the record, we're

    20     at PDX-311 citing PTX-1 at Column 31, lines 29 to 48.

    21     BY MS. MORGAN:

    22     Q.      So can you please explain for me with respects to

    23     Table A-1 in your opinion what is in Table A-1 does not

    24     provide a specific disclosure of methylparaben and

    25     propylparaben as an alternative to sodium benzoate?
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     1     A.      So the paraben or salts are here.        So the first

     2     point is that the salts are different molecules from the

     3     paraben itself.     And the FDA recognizes that salts are

     4     different APIs, different molecules from the paraben.

     5                   So it's not the paraben but rather the salt.

     6                   Secondly, if you look in A-5, there is one of

     7     them, methylparaben salt plus sodium benzoate, so that is

     8     not disclosing.

     9                   And then in A-6, the two salts, not the free

    10     acid, plus a third preservative.        So they're not operating

    11     independently or disclosed.

    12                   Further, the pH of those are 4.5 and 4.4 and

    13     those are unstable pHs.

    14                   So those are not really operative formulations

    15     any way.

    16     Q.      Would a person of ordinary skill in the art believe

    17     methylparaben -- actually, strike that.

    18                   MS. MORGAN:    Let me go to the next slide.

    19                   Looking at PDX-312 and looking at Table C.

    20     BY MS. MORGAN:

    21     Q.      Does this table disclose a mixture of methylparaben

    22     and propylparaben as an alternative to sodium benzoate?

    23     A.      Again, this table is kind of a mix -- mix of all

    24     these things.     It is showing that two salts.       So it's not

    25     showing the free parabens.
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     1                    And in C-1 and C-2, it also shows a third

     2     preservative.

     3                    And in C-3, it shows potassium sodium benzoate.

     4                    In C-4 and 5, it shows just one of the parabens.

     5                    So a person of skill wouldn't be able to look at

     6     this and see to make mixtures.        It's just not a disclosure.

     7                    And the stability, the pHs are also wrong, so

     8     it's unstable.     The formulation is unstable.       It's not an

     9     operative formulation.

    10     Q.        So would this disclose to a person of ordinary

    11     skill in the art that methylparaben -- that a mixture of

    12     methylparaben and propylparaben is an alternative to sodium

    13     benzoate?

    14     A.        No, this doesn't disclose it.      It's too mixed up to

    15     disclose it.

    16                    MS. MORGAN:   So let's go to the next slide.

    17                    So looking at PDX-313.

    18     BY MS. MORGAN:

    19     Q.        So can you please just wrap up disclosure dedication

    20     for us.    What is your own conclusion?

    21     A.        So, as I -- my bullets.

    22                    So, first of all, the combination is not

    23     explicitly listed as an alternative of sodium benzoate.

    24                    And it is not clearly disclosed as an

    25     alternative.
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                                      Byrn - direct

     1                    And so this doctrine does not apply to

     2     methylparaben and propylparaben.

     3     Q.      So in your opinion, do any of Bionpharma's defenses

     4     to the application of the Doctrine of Equivalents apply?

     5     A.      No, I don't believe so.

     6     Q.      And does Bionpharma's ANDA product infringe all of

     7     the asserted claims, all the limitations infringe either

     8     literally or under the Doctrine of Equivalents?

     9     A.      Yes.   Bionpharma's product infringes all the

    10     limitations and all the claims either literally or under the

    11     Doctrine of Equivalents.

    12                    MS. MORGAN:   Thank you, Doctor.

    13                    I will turn the witness for cross-examination.

    14                    THE COURT:    All right.   Mr. Alul, is your cross

    15     likely to exceed 45 minutes?

    16                    MR. ALUL:    I'll probably be about 30 or

    17     35 minutes.

    18                    THE COURT:    Oh, is that right?

    19                    MR. ALUL:    Yes.

    20                    THE COURT:    You really think it's only going to

    21     be 35 or less?

    22                    MR. ALUL:    I am hopeful.    Yes.   With that -- I'm

    23     going to -- yes.     I'm going to do my best.

    24                    THE COURT:    We might be able to get that in, but

    25     let's get started.      I might have to cut you off.
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     1                       MR. ALUL:    Okay.       Understood.   Understood.

     2                       THE COURT:       Are you able to start in open court,

     3     or did you want to start under seal?

     4                       MR. ALUL:    We can start in open court, Your

     5     Honor.

     6                       THE COURT:       Okay.   Mr. English, if you could

     7     start in open court.

     8                       (Silvergate sealed portion ends.)

     9                            *       *      *

    10                       THE TRIALanywhere HOST:        The courtroom is

    11     sealed.

    12                       THE COURT:       Thank you.

    13                                 CROSS EXAMINATION

    14     BY MR. ALUL:

    15     Q.        You have never formulated any products using paraben

    16     preservatives; is that correct?

    17     A.        Yes, that's correct.

    18     Q.        All right.       Please turn to PTX-3 in your Exhibit

    19     binder.

    20     A.        Okay.

    21     Q.        You recognize this as the '745 patent; is that

    22     correct?

    23     A.        Correct.

    24     Q.        Please turn to Example 3 at column 33.

    25     A.        Okay.
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                                       Byrn - cross

     1     Q.        Okay.    Let's just focus on the liquid formulations in

     2     the table that is on 34.       I believe you discussed these with

     3     Ms. Morgan just a few moments ago?

     4     A.        Yes.

     5     Q.        Okay.    Now, you understand that -- strike that.

     6                       You don't dispute that in these formulations

     7     methylparaben and propylparaben would be present as the

     8     three acids, i.e., the non-salts; is that correct?

     9     A.        I think that's likely.    You have to look at the pH,

    10     but I think it's likely that they would.

    11     Q.        All right.    The pHs are right down there at the

    12     bottom?

    13     A.        Yes.

    14     Q.        You see that; right?

    15     A.        I think that's correct.     I think that's correct.

    16     Q.        Okay.    And a person of skill would know that; is that

    17     correct?

    18     A.        Yes.

    19     Q.        Okay.    And in these liquid formulations, it's the

    20     non-salt compounds, methylparaben and propylparaben, the

    21     three acids that are exerting antimicrobial activity; is

    22     that correct?

    23     A.        That is correct.

    24     Q.        Okay.    Okay.   I believe you testified that one of the

    25     reasons you disagree that the Example C formulations support
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                                       Byrn - cross

     1     Dr. Morton's opinion that methylparaben and propylparaben

     2     are disclosed as suitable alternatives to the claimed sodium

     3     benzoate is that all of the enalapril liquid formulations

     4     disclosed in this example all include another preservative

     5     beyond methylparaben and propylparaben salts; is that

     6     correct?

     7     A.        Well, I didn't testify exactly that way, but that is

     8     the gist -- that's part of -- that's the gist of what I

     9     said, yes.

    10     Q.        Okay.

    11     A.        There's no clear disclosure of the two compounds

    12     together by themselves.

    13     Q.        And if you look at these, the additional

    14     preservatives in these formulations, they're non-parabens;

    15     is that correct?

    16     A.        That's correct.

    17     Q.        Okay.    Are you aware that late last year Silvergate

    18     secured additional Epaned patents beyond the four that were

    19     originally asserted against Bionpharma in this case?

    20     A.        No, I'm not.

    21     Q.        All right.    Please turn to DTX-1123 in your exhibit

    22     binder.

    23                       MR. ALUL:   And, for the record, this is a patent

    24     entitled U.S. Patent No. 10,786,482 B.

    25     BY MR. ALUL:
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                                       Byrn - cross

     1     Q.      Dr. Byrn, have you ever seen this document before?

     2     A.      No.

     3     Q.      If you look at the -- hang on a second.         You're a

     4     named inventor on approximately four or five United States

     5     patents; is that correct?

     6     A.      Right.

     7     Q.      And you're not a lawyer; is that right?

     8     A.      Right.

     9     Q.      But you're generally familiar with the structure of a

    10     United States patent; is that correct?

    11     A.      Correct.

    12     Q.      Okay.    The '482 patent is entitled Enalapril

    13     Formulations; is that correct?

    14     A.      Correct.

    15     Q.      And that's the same title as the patents-in-suit; is

    16     that correct?

    17     A.      Yes.

    18     Q.      And if you look at the applicant and assignee

    19     information on the cover of the '482 patent, Silvergate is

    20     identified for both; is that correct?

    21     A.      Yes.

    22     Q.      And the inventors Gerald Mosher and David Miles

    23     are the same inventors on the patents-in-suit; is that

    24     correct?

    25     A.      Yes.
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                                       Byrn - cross

     1     Q.      And if you look at the related U.S. application data

     2     section on the '482 patent, do you see how it claims

     3     priority of the patents-in-suit?

     4     A.      I see that and some other patent in that list.

     5     Q.      All right.    But you see the 987 patent; is that

     6     correct?

     7     A.      Correct.

     8     Q.      And you see the '745 patent there; is that correct?

     9     A.      Correct.

    10     Q.      Okay.    Please turn to claim 14.      Can you generally

    11     describe for the Court what Silvergate has claimed here?

    12     A.      Well, they're -- claim I, element I is enalapril or a

    13     pharmaceutically acceptable salt or solvate, and (ii) is a

    14     citric acid, sodium citrate buffer of different millimolar

    15     concentration.     And claim (iii) is about one milligram per

    16     mL of a preservative, wherein the preservative is parabens

    17     or a mixture of parabens and (iv) is water.

    18     Q.      Okay.    And claim 14 does not require any other

    19     preservatives beyond a paraben or mixture of parabens; is

    20     that correct?

    21     A.      That's correct.

    22     Q.      It does not require a non-paraben preservative such

    23     as potassium sorbate or sodium benzoate; is that correct?

    24     A.      Correct.

    25     Q.      Now, you're somewhat familiar with 35 U.S.C. Section
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                                  sealed and confidential
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     1     112; is that correct?

     2     A.      Correct.

     3     Q.      Okay.    And you understand that for a patent claim to

     4     properly claim priority to an earlier filed patent

     5     application or patent, the subject matter of the claim must

     6     be adequately described and enabled in the priority

     7     document; correct?

     8     A.      I have a general understanding.        You're starting to

     9     reach the edge of my legal patent expertise.          I'm a

    10     professor.

    11     Q.      Okay.    Okay.

    12                     MR. ALUL:    Your Honor, at this point we can

    13     unseal the courtroom.

    14                     THE COURT:   Okay.   Mr.   English, you may unseal

    15     it, please.

    16                     (Bionpharma sealed portion ends.)

    17

    18            I hereby certify the foregoing is a true and accurate
           transcript from my stenographic notes in the proceeding.
    19

    20                                      /s/ Brian P. Gaffigan
                                           Official Court Reporter
    21                                        U.S. District Court

    22

    23

    24

    25
